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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



PLANNED PARENTHOOD                 )
SOUTHEAST, INC., on behalf         )
of its patients,                   )
physicians, and staff,             )
et al.,                            )
                                   )        CIVIL ACTION NO.
      Plaintiffs,                  )         2:13cv405-MHT
                                   )              (WO)
      v.                           )
                                   )
LUTHER STRANGE, in his             )
official capacity as               )
Attorney General of the            )
State of Alabama, et al.,          )
                                   )
      Defendants.                  )

                               OPINION

      In Planned Parenthood of Se. Pa. v. Casey, 505 U.S.

833   (1992),   the   Supreme     Court    of   the   United      States

announced two principles that must govern this court’s

analysis of the right to choose to have an abortion.

First, the Court reaffirmed “the right of the woman to

choose to have an abortion before viability and to obtain

it without undue interference from the State.”                    Id. at

846   (1992)    (majority     opinion).         Second,     the    Court
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endorsed “the principle that the State has legitimate

interests from the outset of the pregnancy in protecting

the health of the woman and the life of the fetus that

may become a child.”         Id.     However, in the controlling

opinion, a plurality of the court announced that a State

regulation goes too far in pursuing those legitimate

interests    when    it    imposes       an    “undue    burden”   on   the

woman’s ability to choose an abortion.                  Id. at 874 (joint

opinion of O’Connor, Kennedy, and Souter, JJ.).

    As a trial court in the trenches, this court must

remain faithful to the rule of law and not to its own

doubts--or     convictions--about                the    correctness      of

established law.          Thus, this court must now apply the

principles     announced       in        Casey     to     determine     the

constitutionality of the State of Alabama’s recently

enacted     requirement      that        all     doctors    who    provide

abortions     must    have     staff          privileges     to    perform

designated procedures at a local hospital, codified at

1975 Ala. Code § 26-23E-4(c).



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    In order to give “real substance to the woman’s

liberty,” id. at 869, while at the same time fully

honoring the State’s ability to pursue, in good faith,

its own acknowledged legitimate interests, this court

concludes that it must hold that this requirement is

unconstitutional. The evidence compellingly demonstrates

that the requirement would have the striking result of

closing three of Alabama’s five abortion clinics, clinics

which   perform      only    early     abortions,       long     before

viability.    Indeed, the court is convinced that, if this

requirement would not, in the face of all the evidence in

the record, constitute an impermissible undue burden,

then almost no regulation, short of those imposing an

outright prohibition on abortion, would.



                     I. PROCEDURAL HISTORY

    The plaintiffs in this case, Reproductive Health

Services,    Planned      Parenthood      Southeast,       and    their

administrators, operate abortion clinics in Montgomery,



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Birmingham, and Mobile, Alabama.            They sued the Attorney

General    of    Alabama,      the      District     Attorneys       for

Montgomery,     Jefferson,     and     Mobile    Counties,    and    the

State’s    Chief       Medical       Officer,      challenging       the

constitutionality         of      Alabama’s        staff-privileges

requirement, codified at 1975 Ala. Code § 26-23E-4(c).

Jurisdiction is proper under 28 U.S.C. §§ 1331 (federal

question) and 1343(a)(3)-(4) (civil rights).                This court

held a ten-day bench trial, and this matter is now before

the court for resolution of the constitutionality of the

staff-privileges provision.



                     II. FACTUAL BACKGROUND

                   A. The Climate in Alabama

                   1. A History of Violence

    Although     the   vast    majority     of    those   who    oppose

abortion do so in nonviolent ways, this court cannot

overlook the backdrop to this case: a history of severe




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violence against abortion providers in Alabama and the

surrounding region.

      In 1993, a gunman shot and killed Dr. David Gunn, an

Alabama resident who provided abortions throughout the

State and in northern Florida.                   Dr. Gunn was the first

doctor    in    the   nation    to    be    murdered       for   performing

abortions.      He became identifiable after his name, photo,

and    contact        information          were        displayed       on   an

anti-abortion poster at a rally in Montgomery.                       The same

gunman later killed Dr. Gunn’s replacement in northern

Florida, along with his guard, and also wounded that

doctor’s wife.

      A few years later, in 1997, a person opposed to

abortion       climbed   onto   the       roof    of    the   West     Alabama

Women’s Center in Tuscaloosa and dropped a lit flare into

the air-conditioning unit.                 The flare lit the entire

inside of the clinic on fire, causing over $ 400,000 of

damage.         The   perpetrator         of     the    arson    was    never

identified.



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      The next year, a remote-control bomb was detonated

outside     New    Woman       All   Women       abortion    clinic      in

Birmingham.       The bomb killed a police officer standing

outside the clinic and wounded a nurse who had just

walked out the clinic entrance.                     After a detailed

investigation, the federal Bureau of Alcohol, Tobacco,

and    Firearms     determined       that    the     same    individual

responsible for the New Woman All Women bombing, Eric

Robert Rudolph, also bombed another abortion clinic in

the   Atlanta     area,    a   gay   bar    in    Georgia,   and,     most

notoriously, the 1996 Olympics.

      In 2001, staff at the Pensacola clinic where Dr. Gunn

had worked noticed a van circling the clinic.                  During a

traffic stop, police noticed that there were a large

number of semiautomatic weapons in the van but did not

confiscate the weapons.          Soon afterward, the van drove to

Birmingham, where it began to circle the New Woman All

Women clinic.      The driver was identified as an abortion

opponent.



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       Five or six years ago, a man intentionally drove

through the front of the Tuscaloosa clinics, eventually

fleeing and engaging police in a chase.               Most recently,

in 2012, a Pensacola clinic was firebombed.

       Nationally, during the same period of time, other

abortion doctors have been murdered, other clinics have

been    bombed   and   burned,    and   abortion     providers      have

endured other, less dangerous forms of extreme harassment

that exceed the boundaries of peaceful protest.



                          2. Current Climate

       Against the backdrop of this history of violence,

abortion providers and women seeking abortions in Alabama

today live and work in a climate of extreme hostility to

the practice of abortion.              On a day-to-day basis, a

provider or a patient sees this hostility when she opens

the newspaper, drives by a group of protesters at a

clinic,    or    learns    that   another   piece    of   legislation

concerning abortion has been enacted.                Of course, the



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court does not imply that such activities are illegal,

improper, or morally wrong; indeed, the right to express

deeply held beliefs is of the utmost importance.                 But it

is nonetheless necessary to recognize that such actions

contribute to the climate surrounding the disputes in

this case.

    An Alabama resident reading the newspaper last year

would have read that her elected officials were described

as celebrating that they had “boldly defended the rights

of the unborn,” AL.com Article, PX 30, as being “pleased

with” the idea that a piece of legislation would “truly

limit abortion in Alabama,” Decatur Daily Article, PX 31,

and as believing that abortion regulations were “what God

expects us to do,” Associated Press Article, PX 32.

Similarly,    the    governing     political      party’s     platform

recently stated: “WE DARE DEFEND OUR RIGHT TO LIFE:

Questionable Supreme Court rulings have eliminated the

State   ’s   ability     to   prohibit     abortions      altogether.




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However, states may enact meaningful abortion-related

reforms[.]”      Alabama GOP 2013 Legislative Agenda, PX 29.

       In   fact,    the      State     has      enacted      separate

“abortion-related” legislation, id., in each of the last

four    years.      See    2014     Ala.    Acts    441    (extending

informed-consent waiting period to 48 hours); 2013 Ala.

Acts 79 (Women’s Health and Safety Act); 2012 Ala. Acts

405 (Federal Abortion Mandate Opt Out Act); 2011 Ala.

Acts 672 (Alabama Pain-Capable Unborn Child Protection

Act).



                      3. Fear at the Trial

       The effect that this climate of violence, harassment,

and hostility has on abortion providers in Alabama was

palpable at the trial in this case.            In their testimony,

discussed at length below, the doctors described their

daily fears for their professional livelihoods as well as

their personal safety.         One of the physicians described

being followed and threatened by abortion opponents, and



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fearing for herself, her spouse, and her children every

day that she goes to work in Alabama.              Indeed, that fear

was driven home to this court even in the conduct of the

trial itself: in order to protect their identities, the

doctors were referred to by pseudonyms throughout the

case and would testify in open court only from behind a

black curtain.1



                B. Abortion Clinics in Alabama

    In the context of this climate of hostility, the

number of abortion clinics in the State has steadily

declined.     As of 2001, there were 12 clinics providing

abortions in the State.         Today, that number has dwindled

to five.2


    1. The list of pseudonyms and real names of most of
the current and former abortion doctors has been filed
under seal as PX 1.

    Further, to protect the doctors’ anonymity, the court
generally refers to them by feminine pronouns, regardless
of their actual gender.

    2. In practice, there may actually be as few as three
                                           (continued...)

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    Nonetheless, it is significant that five clinics

continue to provide legal abortions in the State of

Alabama.     The vast majority of abortions performed in

Alabama occur in these five clinics.                   None occurs in

private doctors’ offices, but state records reveal a

small   number     of    abortions      have    been    performed         at

hospitals.

    The plaintiffs in this case operate three of the

State’s clinics.        Reproductive Health Services operates

a clinic in Montgomery, and Planned Parenthood operates

one clinic in Birmingham and another in Mobile.                Together

these three clinics provided approximately 40 % of legal



    2. (...continued)
clinics in operation right now. At the time of trial,
the Birmingham clinic was closed, pending approval by the
Alabama Department of Public Health of a plan of
correction, discussed further below.      The Huntsville
clinic had been planning to move into a new building in
order to comply with recently enacted architectural
requirements for abortion clinics. At the time of trial,
the administrator of that clinic testified that he had
not yet secured approval of the new building and could
operate continuously only if he secured such approval
before July 1. The parties have not notified the court
as to whether the Huntsville clinic secured the approval.

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abortions in the State in 2012.           The other two clinics in

the State are Alabama Women’s Center for Reproductive

Alternatives      in   Huntsville       and    West    Alabama    Women’s

Center in Tuscaloosa.          Among these five clinics, there

are seven doctors who perform abortions in Alabama.

      There are two forms of abortion, described in detail

below: surgical and medication abortion.                  Montgomery’s

Reproductive      Health     Services         clinic    provides     only

surgical    abortions,      not    medication         abortions.      Two

doctors perform those abortions, but because they reside

outside Alabama, the clinic can offer abortions only one

day a week.

      A woman seeking an abortion at Planned Parenthood’s

Mobile or Birmingham clinics may obtain a medication

abortion or a surgical abortion.                 As a small part of

their services, both clinics also provide access to birth

control, sexually-transmitted-disease testing, and cancer

screenings.       One doctor serves as the medical director

for   all   the   Planned     Parenthood        clinics    in    Alabama,

Georgia, and Mississippi.         She also performs abortions at

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the Birmingham clinic one day a week.              Another doctor is

the primary abortion provider at the Mobile clinic, where

she performs abortions about once a week.                   Neither of

these doctors resides in Alabama.

    A woman visiting the Alabama Women’s Center for

Reproductive Alternatives in Huntsville may obtain a

medication     or   surgical     abortion.         The   clinic     also

provides family planning services, such as pap smears or

access to birth control.                There are currently three

physicians performing abortions at the Huntsville clinic.

Two of these doctors reside in the Huntsville area.                  The

third is one of the doctors who perform abortions at the

Montgomery clinic.

    West Alabama Women’s Center in Tuscaloosa provides

medication and surgical abortions.                One physician, a

resident of the State, performs all of the abortions at

the Tuscaloosa clinic.




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                          C. Abortion Procedures

       The     State      contends      that      the     staff-privileges

requirement        was    enacted      to     further     its    interest       in

women’s         health,      rather      than        to   affect         women’s

decision-making about whether to have an abortion.                             See

1975 Ala. Code § 26-23E-2 (legislative findings).                              The

court, of course, recognizes that many individuals attach

great moral significance to the decision to have an

abortion,       but    the   State’s        health     rationale       makes    it

necessary        to    understand      the     mechanics        and    risks    of

abortion as a medical procedure.

       There are two types of abortion: medication and

surgical abortion.            A medication abortion involves the

oral administration of two sets of pills.                             At Planned

Parenthood         clinics,       the        patient      first        takes     a

mifepristone          pill   at   the    clinic.          This    first     pill

detaches the embryo from the walls of the uterus.                         One to

two days later, the patient takes four misoprostol pills

at      home,     as      well    as         prophylactic        antibiotics.

Approximately two to four hours after she takes the

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misoprostol, these pills cause her uterus to contract and

expel its contents, including the detached embryo.

    A surgical abortion closely resembles the general

gynecological      procedure      of    dilation     and     curettage.

First, the cervix is stretched open using a series of

progressively larger metal rods, until it is open to

approximately the diameter of a pencil.               Misoprostol may

also be used to loosen the cervical muscles.                   Once the

cervix has been dilated, a tube is inserted into the

uterus to suction out its contents.                Sometimes, instead

of, or in addition to, suction, a curette, which is a

tool with a dull blade, is used to scrape the lining of

the uterus.      The procedure itself takes less than ten

minutes, often significantly less.

    The plaintiffs’ clinics provide only early abortions.

Medication abortions are provided only until nine weeks

gestational     age.      Furthermore,       the    majority    of   the

surgical abortions at the plaintiffs’ clinics take place

before   12    weeks     gestational      age.       Early     surgical

abortions are significantly less invasive than late-term

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abortions.        This is because, at later stages, it is

necessary to dilate the cervix to a wider diameter in

order to remove the fetus.



          D. Women’s Health and Safety Act of 2013

       On April 9, 2013, the Governor of Alabama signed the

Women’s Health and Safety Act of 2013 into effect.                        2013

Ala. Acts 79, codified at 1975 Ala. Code § 26-23E-1, et

seq.      The statute imposes several new architectural,

personnel,       and     procedural     requirements            on     abortion

clinics.    The specific provision challenged in this case,

§ 4(c), requires every doctor performing abortions in

Alabama    to    “have    staff   privileges         at    an    acute    care

hospital        within     the    same        standard          metropolitan

statistical area as the facility is located that permit

him or her to perform dilation and curettage, laparotomy

procedures,       hysterectomy,        and     any    other          procedures

reasonably        necessary       to         treat        abortion-related




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complications.”      § 26-23E-4(c).3        A clinic administrator

who knowingly and wilfully operates an abortion clinic

with doctors who do not have such privileges faces felony

criminal liability, § 26-23E-12(c), and the State may

revoke the clinic’s license for violations of the Act.

§ 26-23E-14(b).



                       III. LEGAL STANDARD

    The    question     in   this    case   is    whether    Alabama’s

staff-privileges requirement “violates the substantive

due process rights of the women who seek abortions from

the plaintiff clinics.”         Planned Parenthood Se., Inc. v.

Strange, --- F. Supp. 2d ----, at ----, 2014 WL 1320158

at *5 (M.D. Ala. 2014) (Thompson, J.) (opinion on summary

judgment).     The governing standard for the evaluation of

such claims is the undue-burden standard articulated by


    3. These are common gynecological procedures which
doctors in other specialties may not be qualified to
perform. In addition to dilation and curettage, which is
described above, hysterectomy is the surgical removal of
the uterus, and a laparotomy is a surgery involving
incision into the abdominal cavity.

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the Supreme Court in Planned Parenthood of Se. Pa. v.

Casey.     See Casey, 505 U.S. 833, 877 (1992) (plurality

opinion) (“In our considered judgment, an undue burden is

an unconstitutional burden.”).               “A finding of an undue

burden is a shorthand for the conclusion that a state

regulation     has   the   purpose      or    effect      of    placing   a

substantial obstacle in the path of a woman seeking an

abortion of a nonviable fetus.”              Id.

    This court discussed the undue-burden standard in

great detail in its opinion at summary judgment, and the

court anticipates that the summary-judgment opinion will

be read in conjunction with this one.                   See Strange, ---

F. Supp. 2d at ----, 2014 WL 1320158 at *5-19.                         For

present purposes, however, the court will again set forth

the test it will apply in this case and review its

principal reasons for adopting that test.

    In its prior opinion, this court articulated “the

following test to determine whether an actual or intended

obstacle     is   substantial:       the     court       must   determine

whether,    examining      the   regulation        in    its    real-world

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context,    the    obstacle     is   more    significant       than       is

warranted     by    the    State's      justifications        for     the

regulation.”       Strange, --- F. Supp. 2d at ----, 2014 WL

1320158 at *13.      This court explained that “the heart of

this test is the relationship between the severity of the

obstacle and the weight of justification the State must

offer to warrant that obstacle” and that “the more severe

the obstacle a regulation creates, the more robust the

government’s justification must be, both in terms of how

much benefit the regulation provides towards achieving

the State’s interests and in terms of how realistic it is

the regulation will actually achieve that benefit.”                   Id.

This court then offered a non-exhaustive list of the

factors it anticipated might be relevant in assessing the

severity of the burdens imposed by a given regulation and

in assessing the weight of the justification offered for

the regulation.        See id. at ----, 2014 WL 1320158 at

*13-16.     Finally, the court clarified that all of these

considerations “apply to the interpretation of the term

‘substantial obstacle’” and that, under Casey, “either

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the ‘purpose or effect of placing [such an] obstacle in

the path of a woman seeking an abortion of a nonviable

fetus’      imposes      an    undue,    and      thus     unconstitutional,

burden.”       Id. at ----, 2014 WL 1320158 at *16 (quoting

Casey, 505 U.S. at 877).

       This court’s conclusions were based on the reasoning

of Casey and the application of the undue-burden standard

in     Casey    itself    as    well    as     the    subsequent      case   of

Gonzales v. Carhart, 550 U.S. 124 (2007).                        This court

first      reviewed      the    history      of      the    Supreme   Court’s

abortion jurisprudence, beginning with the recognition

in Roe v. Wade, 410 U.S. 113 (1973), that “women have a

constitutionally protected right to decide whether to

have an abortion.”             Strange, --- F. Supp. 2d at ----,

2014 WL 1320158 at *6.           “From the beginning,” the Supreme

Court took a balanced approach, taking account of both

the protected liberty of the woman and the important

interests of the State.                Id. (internal quotation marks

omitted).        However, some subsequent Supreme Court cases

departed from this balanced approach, requiring instead

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“‘that any regulation touching upon the abortion decision

must survive strict scrutiny, to be sustained only if

drawn in narrow terms to further a compelling state

interest.’”      Id. (quoting Casey, 505 U.S. at 871).                    At

the same time,        some Supreme Court Justices “were urging

a complete reversal of Roe” and, in its place, the

application      of     rational-basis       review      to     abortion

regulations.      Strange, --- F. Supp. 2d at ----, 2014 WL

1320158 at *7.

    The Supreme Court, in Casey, resolved this dispute by

rejecting     both     approaches,      returning      to     the    first

principles of Roe and following a “middle way” forward.

Strange, --- F. Supp. 2d at ----, 2014 WL 1320158 at *7.

The Casey majority “upheld the central holding in Roe,”

which the Court articulated in part as a recognition of

both “‘the right of the woman to choose to have an

abortion before viability and to obtain it without undue

interference      from     the     State,’”      and    the         State’s

“‘legitimate interests from the outset of the pregnancy

in protecting the health of the woman and the life of the

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fetus that may become a child.’” Id. (quoting Casey, 505

U.S. at 846).         In order to give effect to both important

interests, the Casey plurality “adopted a new ‘undue

burden standard,’ which found a middle ground” between

those who would impose strict-scrutiny review of such

regulations and those who would require only a rational

basis.   Strange, --- F. Supp. 2d at ----, 2014 WL 1320158

at *7; see also id. at ----, 2014 WL 1320158 at *7-8

(comparing      the    non-controlling     opinions      in   Casey       of

Justice Blackmun and Chief Justice Rehnquist).                       “The

Casey Court’s ‘undue-burden’ standard does not subject

state regulation of abortions to strict scrutiny, which

would ‘undervalue[]’ the State’s interests, invalidating

nearly    all    abortion      regulations.           Nor     does    the

undue-burden standard provide complete deference to the

State by adopting a rational-basis standard of review,

which would fail to give ‘real substance to the woman’s

liberty to determine whether to carry her pregnancy to

full term,’ upholding nearly all abortion regulations.”



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Strange, --- F. Supp. 2d at ----, 2014 WL 1320158 at *8

(quoting Casey, 505 U.S. at 869, 873).

    Thus, this court concluded, Casey forged a middle way

forward.     However, it was “clear that the middle path

Casey   chose    was    not,    as       one   might    have     expected,

intermediate scrutiny.”           Strange, --- F. Supp. 2d at

----, 2014 WL 1320158 at *9; see also id. (intermediate

scrutiny    requires     “that       a    challenged     regulation       be

‘substantially       related’        to    ‘important      governmental

objectives.’” (quoting Wengler v. Druggists Mut. Ins.

Co., 446 U.S. 142, 150 (1980)).                Instead, in discussing

how to strike the proper balance among the relevant

interests, “Casey pointed to the example of ballot-access

jurisprudence,”        specifically            the     Supreme    Court’s

decisions in Anderson v. Celebrezze, 460 U.S. 780 (1983),

and Norman v. Reed, 502 U.S. 279 (1992).                 Strange, --- F.

Supp. 2d at ----, 2014 WL 1320158 at *9.                       This court

concluded that Casey’s reliance on Anderson and Norman

indicates that, “in applying the undue-burden standard,

the ‘character and magnitude of the asserted injury’

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affects    whether      the     ‘corresponding        interest      [is]

sufficiently weighty to justify the limitation.’”                    Id.

(citations omitted) (quoting Anderson, 460 U.S. at 789

and Norman, 502 U.S. at 288–89, respectively).

    Next, this court reviewed the actual application of

the undue-burden standard in the only two Supreme Court

cases to shed light on its proper interpretation: Casey

itself and Gonzales.          See Strange, --- F. Supp. 2d at

---- & ---- n.10, 2014 WL 1320158 at *11 & *11 n.10.

From the Supreme Court’s analysis in those cases, this

court   discerned     two     general    principles.        The    first

principle was that “[c]ontext matters” in the sense that

“[c]ourts must perform a careful, fact-specific analysis

of how the restrictions would impede women’s ability to

have an abortion, in light of the circumstances of their

lives.”     The second principle was that “[c]ourts must

examine the strength of the State’s justifications for

regulations, not just the effects of the regulation.”

Id. at ----, 2014 WL 1320158 at *11.



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    Finally, this court acknowledged that some lower

courts have employed analyses that are inconsistent with

the test this court articulated at summary judgment; this

court concluded that those other approaches were flawed

and inconsistent with the Supreme Court’s teachings.                 See

id. at ----, 2014 WL 1320158 at *17-19 (citing Parenthood

of Greater Tex. Surg. Health Serv. v. Abbott, 748 F.3d

583 (5th Cir. 2014) (Abbott II); Planned Parenthood of

Greater Tex. Surg. Health Serv. v. Abbott, 734 F.3d 406,

415 (5th Cir. 2013) (Abbott I); Women’s Med. Prof’l Corp.

v. Baird, 438 F.3d 595, 601–2 (6th Cir. 2006); Greenville

Women’s Clinic v. Bryant, 222 F.3d 157, 171 (4th Cir.

2000)).4    This court noted that at least one Court of


    4. This court believes these opinions took the wrong
approach to Casey’s undue-burden standard. However, even
apart from that difference of analysis, the cases are
distinguishable. First, many of the appellate cases were
decided at the preliminary-injunction stage.       As a
result, the courts did not have the benefit of trial to
fully air the evidence. Second, as discussed in further
detail below,Alabama’s particularly strong history of
anti-abortion violence and professional stigma for
abortion doctors makes clear that many abortion doctors
in the State are likely to be categorically ineligible
                                          (continued...)

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Appeals had taken an approach similar to this court’s.

See Planned Parenthood of Wisconsin, Inc. v. Van Hollen,

738 F.3d 786, 798 (7th Cir. 2013) (“The feebler the

medical grounds, the likelier the burden, even if slight,

to     be   ‘undue’      in   the    sense   of    disproportionate          or

gratuitous.”).

       Since summary judgment in this case, another Court of

Appeals      has    followed        suit.    See    Planned    Parenthood

Arizona, Inc. v. Humble, 753 F.3d 905, 914 (9th Cir.

2014) (concluding that Abbott II “fails to recognize that

the undue burden test is context-specific, and that both

the severity of a burden and the strength of the state’s

justification can vary depending on the circumstances”).

Also, the Fifth Circuit, in a recent opinion largely

upholding          the        preliminary         injunction       barring

Mississippi’s         staff-privileges       law,    distinguished      its




    4. (...continued)
for staff privileges. In other cases, it has not been so
clear, at the preliminary-injunction stage that clinics
would   actually   be  forced  to   close   by   similar
requirements.

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prior decision in Abbott II and stated that the undue-

burden analysis must consider “the entire record and

factual context in which the law operates.”                     Jackson

Women’s Health Organization v. Currier,               ––– F.3d ––––,

––––, 2014 WL 3730467 at *9, *15                (5th Cir. July 29,

2014).5

    In    applying    the    test    it   has   articulated     to   the

circumstances of this case and in rejecting the approach

taken by some other courts, this court finds the Supreme


    5. In his dissenting opinion in Jackson Women’s
Health, Judge Garza suggests that the majority’s focus on
the factual specifics renders the majority’s opinion “ad
hoc” and “unworkable.” Jackson Women’s Health, ––– F.3d
at ––––, 2014 WL 3730467 at *15 (Garza, J., dissenting).
This appears to be a reference to the argument
Mississippi made that the majority’s approach would
“preclude the State from closing the Clinic for
sanitation violations.”    Id. at ----, 2014 WL 3730467
at *9 (majority opinion). The arguments made by Judge
Garza and Mississippi point to a problem this court
identified in its prior opinion: “If the severity of the
burdens imposed has nothing to do with the strength of
the reasons for those burdens, then courts are left to
articulate a one-size-fits-all definition of ‘substantial
obstacle’ applicable regardless of the weight of the
governmental interests at stake.” Strange, --- F. Supp.
2d at ----, 2014 WL 1320158 at *18.       It is such an
approach, taken by the Fifth Circuit in Abbott I and
Abbott II, that is “unworkable.” Id.

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Court’s decision in Doe v. Bolton, 410 U.S. 179 (1973),

particularly instructive.            As discussed above, Casey

returned to the essential first principles of Roe v.

Wade, reinstituting the balance struck in Roe between the

woman’s right and the State’s interest.              Doe was decided

the same day as Roe, and the cases must, “of course, ...

be read together.”       Roe, 410 U.S. at 165.           Thus, Casey’s

reaffirmation of the balance of interests struck by Roe

suggests that Doe, likewise, took the correct general

approach.       Indeed,      in   discussing       the   undue-burden

standard, Casey noted that “the Court’s early abortion

cases adhered to [the proper] view,” and approvingly

cited Doe.     Casey, 505 U.S. at 874-5.

    In Doe, the Supreme Court invalidated a number of

Georgia’s statutory provisions that imposed procedural

requirements on doctors who performed abortions.                          Of

those   requirements,       one    stands    out    as   particularly

helpful to guide the court’s approach in this case.                  One

provision of the Georgia law essentially made it illegal

for a doctor to provide an abortion in a stand-alone

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clinic rather than in a hospital setting.                     See Doe, 410

U.S.     at    192.      It   is   clear    to   this   court       that   the

constitutional problem with such a requirement was that

it     would     significantly        reduce     access       to    abortion

services.          See   id.    at   199    (noting     the    plaintiffs’

arguments based on “delay and the lack of facilities”).6

       In light of the burdens that such a clinic ban would

impose on women seeking abortions, the Court demanded

from     the    State    an     honest     accounting    of    the    health

benefits of the hospital-only requirement.                         The Court

ultimately struck down the requirement, finding that the

persuasive “mass of data” offered by the plaintiffs and

amici, tended to show that clinics with appropriate staff

and     facilities       were      “entirely     adequate      to    perform

abortions,” while Georgia failed to offer “persuasive




    6. Cf. Mazurek v. Armstrong, 520 U.S. 968, 974 (1997)
(per curiam) (regulation did not have the effect of
imposing a substantial obstacle because, in part, it did
not reduce access to abortion services in that “no woman
seeking an abortion would be required by the new law to
travel to a different facility than was previously
available”).

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data to show that only hospitals meet its acknowledged

interest in insuring the quality of the operation and the

full protection of the patient.”                    Id. at 195.         Thus,

despite acknowledging the State’s legitimate interest in

protecting women’s health, the Court carefully considered

the   evidence     on   the     degree       to    which     the     hospital

regulation would actually advance that interest.                      See id.

(“[T]he State must show more than it has in order to

prove    that   only    the     full       resources       of   a    licensed

hospital, rather than those of some other appropriately

licensed institution, satisfy these health interests.”).

      Doe does not, of course, directly control this case.

The     provisions      at    issue        there     imposed        different

requirements on abortion providers.                 Furthermore, as Doe

itself emphasizes, the question of how well a woman’s

health     regulation        serves    its        stated     purpose     (and

implicitly, the extent of the effect on women’s access to

abortion) is a necessarily fact-bound one, dependent on

the     evidence     presented.            Finally,        although     Casey

reaffirmed Roe’s “essential holding,” Casey, 505 U.S. at

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846,     it    rejected       some      aspects      of   Roe’s    particular

analysis.       Id. at 873 (rejecting trimester framework).

This court is cognizant that Casey, likewise, should not

be read to necessarily endorse Doe’s analysis in all of

its particulars.

       Nonetheless, Doe is extremely important in setting

the proper framework for this case.                       For in Doe, as in

this case, the plaintiffs challenged as unconstitutional

a   regulation        of   the    manner       in    which   abortions   were

performed which threatened to reduce access and which the

State justified by reference to protecting the health of

the woman.          And in Doe, as in this case, the Court did

not doubt that the State had a legitimate interest in

ensuring that abortions are performed safely.                        But the

Court in Doe required more than general statements of

concern       and    claims      that    the    regulations       conceivably

might, in some cases, lead to better health outcomes;

rather,       the    Court    required         the   State   to   establish,

through evidence, that the regulation really was strongly

justified.          This approach, namely one that examines the

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strength of the justifications based on the evidence

presented in a real-world context, laid a foundation for

the analysis mandated by Casey and articulated by this

court.

       The    court      will    now    turn    to    application     of   the

undue-burden test to the facts of this case; that is, it

will “determine whether, examining the regulation in its

real-world context, the obstacle is more significant than

is     warranted      by   the    State’s      justifications        for   the

regulation.”          Strange, --- F. Supp. 2d at ----, 2014 WL

1320158 at *13.



                                IV. DISCUSSION

       The parties presented competing evidence on both

sides of the court’s substantial-obstacle test.                       On the

obstacle side, the parties disagree as to what effect the

staff-privileges requirement would have on current and

potential        abortion        providers      and     what   effect      the

elimination         of     abortion          services    in    Montgomery,

Birmingham,        and     Mobile      would    have    on   women   seeking

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abortion.          On    the   justification         side,     the    parties

disagree about the strength of the State’s justifications

for the staff-privileges requirement.7

       The   plaintiffs        argue    that     the    staff-privileges

requirement would pose a substantial obstacle because

none    of   the    doctors     who    provide    abortions          at   their

clinics will be able to secure the privileges required by

the    law   and    no    other   doctors      who     could    secure     the

privileges will begin performing abortions, either at the

plaintiffs’ clinics or in other settings in these cities.

As a result, the only abortion clinics in the Montgomery,

Birmingham, and Mobile metropolitan areas would close,

leaving only two abortion providers in the State, in

Tuscaloosa and Huntsville.             The plaintiffs further argue

that the clinic closures would impose significant harms




    7. The parties also put forward evidence concerning
the purpose of the statute. Since the court finds that
the statute would have the effect of imposing a
substantial obstacle, it is unnecessary to reach the
purpose claim or discuss the parties’ arguments
concerning that claim.

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on women seeking abortions and that the justifications

are weak.

       The State counters that the obstacles for women would

be minor and the justifications for the requirement are

strong.        It asserts that the plaintiffs’ doctors may be

able to secure privileges that satisfy the law and that,

if they are unable to, other doctors would take their

place.      Furthermore, the State contends that, even if the

staff-privileges requirement renders abortion unavailable

in     these    three   cities,      women   seeking     abortion     would

experience only minimal obstacles. Finally, according to

the     State,    the    staff-privileges        requirement       has   two

strong      justifications,        both    grounded    in    the   State’s

legitimate        interest      in    protecting       women’s     health.

Primarily, it argues that the requirement ensures proper

care for complications. Furthermore, the requirement has

a     secondary     benefit     of    ‘credentialing’       high-quality

doctors.

       As discussed at length below, the court finds, by a

preponderance of the evidence, that none of the doctors

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who provide abortions in Montgomery, Birmingham, and

Mobile would be able to obtain staff privileges that

satisfy the requirements of the Women’s Health and Safety

Act and that no doctors who currently hold or could

obtain such privileges would begin performing abortions

in     those    cities.        The    resulting     unavailability           of

abortion in these three cities would impose significant

obstacles, burdens, and costs for women across Alabama

and particularly for women who live in the three cities.

Finally, the court finds that the justifications that the

State offers for the law are weak, at best.

       Because the significant obstacles imposed by the

staff-privileges requirement are not warranted by the

justifications for the requirement, the court finds that

the staff-privileges requirement would have the effect of

imposing a substantial obstacle for women who would seek

abortions in Alabama.           The law would therefore impose an

undue      burden     on    their    constitutional        right    to       an

abortion.        The court will issue a declaratory judgment



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that 1975 Ala. Code § 26-23E-4(c) is unconstitutional as

applied to the plaintiffs.



                            A. Obstacles

      In order to determine the severity of an obstacle

that a regulation places on women seeking abortion, the

court must examine carefully the effect of the regulation

on them, “considering the real world circumstances.”

Strange, --- F. Supp. 2d at ----, 2014 WL 1320158 at *

13.    Several aspects of those real-world circumstances

are helpful in determining the severity of the obstacle,

including “the means by which the regulation operates on

the   right   to   obtain     an   abortion,”      “the    nature    and

circumstances of the women affected by the regulation,”

“the availability of abortion services, both prior to and

under the challenged regulation,” “the kinds of harms

created by the regulation,” and “[t]he social, cultural,

and political context.”         Id.     at ----, 2014 WL 1320158 at

*14-15.



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       In    this    case,     the       plaintiffs         argue   that   the

staff-privileges          requirement          interferes      with   women’s

abortion rights by closing their clinics and making it

unlikely that other providers will emerge.                      As a result,

they    claim      that   many   women         would   be    prevented     from

obtaining          abortions     and          others   would        experience

significant difficulty in obtaining an abortion.                            Cf.

Strange, --- F. Supp. 2d at ----, 2014 WL 1320158 at *18

n.13 (“evidence that an obstacle actually prevents women

from obtaining abortions would be extremely compelling

evidence of a substantial obstacle”).                         Therefore, the

court       must     undertake       a    two-step      inquiry:       first,

determining the effect of the requirement on current and

potential abortion providers; and, second, if clinics

close and no one takes their place, determining the

effects on women who seek abortions in the State.




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                       1. Effect on Providers

                 (a) Nature of Staff Privileges

    The phrase “staff privileges,” also referred to as

‘admitting privileges,’ describes a relationship between

an individual doctor and a hospital or its medical staff

that allows the doctor to admit patients to a hospital

and to perform procedures at the hospital.                 Doctors may

become    a   member      of   a   hospital   staff,    and   therefore

entitled to certain privileges, at different levels, such

as ‘active staff,’ ‘consulting staff,’ and ‘courtesy

staff.’       Each membership level denotes the extent to

which a doctor may use hospital facilities, and the exact

definition     of    each      level   differs   from    hospital         to

hospital.      Once a doctor has some form of affiliation

with the hospital staff, privileges are granted for a

particular specialty, such as family practice, obstetrics

and gynecology (“OB/GYN”), or orthopedics.                In order to

comply    with      the     new    staff-privileges      requirement,

abortion doctors would need to obtain active or courtesy

privileges with an OB/GYN specialty.

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      Each of the hospitals in the Montgomery, Birmingham,

and Mobile areas has a different process and set of

prerequisites for doctors who seek staff privileges in

some form.       However, across many of the hospitals there

are     some     common     aspects       of    the   staff-privileges

credentialing process that are useful to introduce before

discussing        the     specific        circumstances           in        each

metropolitan area.

      First,     many     hospitals       incorporate        a    proximity

requirement for a doctor seeking privileges.                          For some

hospitals, this takes the form of an explicit radius

within which a doctor must live or practice.                     See, e.g.,

Mobile      Infirmary      Credential      Policy,      PX       15    at    4,

§   2.A.1(c)      (physician     must     “be   located      (office        and

residence) within 60 minutes of the Medical Center”).

For other hospitals, the requirement is described more

generally: the doctor must be “sufficiently close” to the




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hospital.       See,    e.g.,   Jackson     Hospital       (Montgomery)

Bylaws, PX 3 at 16, Art. V, § 3(A).8

    Second, many hospitals require that a doctor with

active-staff or courtesy-staff privileges admit a certain

number    of   patients    or    perform     a   certain     number       of

procedures on a regular basis.            See, e.g., St. Vincent’s

Hospital (Birmingham) Bylaws PX 10 at 9-10, § 3.7(b)

(requiring     doctors    seeking       privileges    in    the   OB/GYN

service to perform five procedures within the first six

months of receiving privileges).                 These requirements

serve    two   main    purposes.        Primarily,    they    offer       an

opportunity for an existing member of the hospital’s

medical staff to evaluate a doctor’s clinical skills.                     At

some hospitals, these requirements also serve an economic


    8. In many cases, the general proximity requirements
are designed to provide ‘continuous care’ to hospitalized
patients.   On the surface, this closely resembles the
State’s ‘continuity of care’ justification for the
staff-privileges requirement.     However, as discussed
below, infra. at § IV.B.1.d, the appropriate model of
continuity of care for low-risk outpatient surgeries such
as    early-term   abortion,    let   alone    medication
administrations, differs from the appropriate model for
hospitalized patients.

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purpose, ensuring that a doctor with privileges uses that

hospital, rather than others, to perform procedures.

    Finally, it is important to remember that, at all

hospitals,     the     granting       of     staff        privileges       is     a

discretionary        process.              Doctors         who      meet        the

prerequisites        for    privileges           are     not     automatically

entitled to privileges.



                           (b) Current Doctors

    None     of   the       four   doctors             currently     providing

abortions at the plaintiffs’ clinics has staff privileges

at a hospital in the same metropolitan statistical area

as the clinics.             Based on trial testimony from the

current    abortion         doctors        and    from         abortion-clinic

administrators and representatives of local hospitals, as

well as the language in the bylaws of local hospitals,

the court finds that none of the current abortion doctors

at the plaintiffs’ clinics would be able to obtain the

necessary staff privileges, even if they applied.



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                              i. Montgomery

    The      two     doctors     performing      abortions      at   the

Montgomery clinic, Drs. A and B, will be unable to obtain

staff privileges at any local hospital.9               Neither doctor

resides in the Montgomery area.             Dr. A periodically flies

from her permanent home in Nigeria to Alabama to perform

abortions,     and    stays    in    Atlanta,   Georgia     during   her

trips.      For family reasons, she will not relocate to

Alabama.     Dr. B lives, and has her primary practice, in

Chicago,     Illinois,    and       has   privileges   at   a   hospital

there.      There was insufficient evidence at trial to

conclude that she will move to Alabama in the foreseeable

future.10




    9.      See supra note 1.
    10. Carter Sims, an Alabama Department of Public
Health investigator, testified at one point that Dr. B
said that she “was thinking about moving [to Birmingham]
to be close to” her brother. Tr. at VI-145:15-16. This
statement was admissible hearsay, admitted over the
plaintiffs’ objection as a statement of present mental
state. Fed. R. Evid. 803(3). Nonetheless, this casual
statement is too indefinite and noncommittal for the
court to conclude that it is anything but a passing whim.

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    There are only two local hospital networks in the

Montgomery area that offer privileges that could satisfy

the staff-privileges requirement: Jackson Hospital and

Baptist Health.         Representatives of the two networks

confirmed that neither Dr. A nor Dr. B will be able to

obtain staff privileges at a hospital in either network.

    The Jackson Hospital representative testified that,

while     the     residency    requirement      is    not    precisely

specified, it is “just understood” that a doctor should

not live farther than “about 30 minutes” away from the

hospital.         Tr.   at    IV-156:22-23.          No   doctor    with

privileges at Jackson Hospital lives farther than an

hour’s drive away.           In addition, the hospital requires

doctors     who     apply     for   staff    privileges       to    have

documentation of at least 25 OB/GYN procedures from the

past year.      No doctor has ever satisfied this requirement

by performing only abortions.

    Drs. A and B do not live within an hour’s drive of

Jackson Hospital.       Dr. A, who provides abortions only and

does not have a separate OB/GYN practice, would also be

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unable       to      provide          documentation            of         25

non-abortion-related procedures.11            There is no credible

evidence that Jackson Hospital would make an exception to

these requirements for the doctors.

    Baptist Health, which runs three local hospitals in

the Montgomery area, also requires a physician to have

her practice within the community and to live in the area

to be eligible for privileges.            According to the Baptist

Health representative, the maximum time that it should

take a physician with such privileges to drive to the

hospital    from   her   home    is     approximately     30   minutes.

There are no OB/GYN doctors who currently hold staff

privileges at any Baptist Health hospital and who live

more than an hour from the hospital.                    For the same

reasons stated above, Drs. A and B cannot meet this




    11. Dr. A is an OB/GYN and formerly had a private
practice in Alabama. However, when she moved to Nigeria,
she went into semi-retirement. She no longer provides
medical care in the United States outside of her abortion
practice.

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residency    requirement       and   therefore        will    be   denied

privileges at any Baptist Health hospital.

    Furthermore, even if Drs. A and B were able to

initially secure privileges at a Baptist Health hospital,

a doctor with provisional privileges who does not treat

enough patients in the hospital during her first year

moves into consulting-privileges or referral-privileges

status.     Neither status would satisfy the terms of the

staff-privileges requirement.            Drs. A and B are unlikely

to have a reason to use the hospital on a regular basis,

due to the safety of the early-term abortion procedures

that they perform and due to Dr. A’s semi-retirement and

Dr. B’s primary practice in Chicago.

    After     hearing       the   testimony      of     the    hospital

representatives,      the    court      is   firmly    convinced     that

neither Dr. A nor Dr. B could obtain privileges at a

Montgomery-area hospital.12


    12. Although the Alabama Women’s Center for
Reproductive Alternatives in Huntsville is not a
plaintiff in this case, it became clear that the clinic
                                         (continued...)
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                             ii. Birmingham

    Dr. Mary Roe is the abortion doctor at the Birmingham

clinic.     She resides in Atlanta, Georgia, travels to

Birmingham to provide abortions once a week, and, for

personal reasons, will not move to Birmingham.                  She has

staff   privileges      at    two   teaching    hospitals      and   one

private hospital in Atlanta, but she does not have such

privileges at a hospital in Alabama.




     12. (...continued)
and    its   patients   would   be   affected    by   the
staff-privileges requirement as well.          While the
Huntsville clinic uses two doctors who live in the
metropolitan area and have privileges at a local
hospital, the clinic also contracts with Dr. A to provide
abortion services. The court credits the testimony of
Dalton Johnson, the administrator of the Huntsville
clinic, that Dr. A would be unable to secure privileges
at a Huntsville-area hospital. Given the similarities in
staff-privileges prerequisites at hospitals across
Montgomery, Birmingham, and Mobile, it is reasonable to
believe    that   Huntsville  hospitals    have   similar
requirements.    Therefore, Dr. A’s semi-retirement and
residences in Georgia and Nigeria would likely prevent
her from obtaining privileges at a Huntsville hospital.
Therefore, the Huntsville clinic would lose an abortion
doctor, and its capacity for providing abortions would
decrease.

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       There are nine hospitals in Birmingham that offer

privileges        that    could     satisfy     the    staff-privileges

requirement.        Dr. Roe meticulously and credibly reviewed

at trial the prerequisites that she does not and could

not satisfy for each of the nine hospitals.

       Five of these hospitals impose explicit geographic

residency and practice requirements, which Dr. Roe could

not meet.13        Three of the remaining hospitals, the St.

Vincent’s Hospitals, are affiliated with the Catholic

Church      and   explicitly      oppose    abortion.        See   Tr.       at

II-159:21-22 (Freedman: “if you have Catholic hospitals

in      Alabama,      there     are     explicit      restrictions           on

abortion”). Furthermore, those hospitals require minimum




    13. The court notes that some of the hospitals'
bylaws require that a doctors 'office or residence' be
within a certain geographic area, rather than her 'office
and residence.' This raises the question of whether a
doctor who works in a Birmingham clinic for a day or two
at a time qualifies as maintaining an 'office' there.
The credible evidence that was introduced indicates that
the answer is no and that the abortion clinics' doctors
would not satisfy 'office or residence' geographic
requirements. See Tr. at II-41:1-10; II-131:4-9. The
court so finds.

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admissions in order to evaluate competence.                          Dr. Roe

could not meet these minimums in Birmingham because her

primary non-abortion practice is located in Atlanta.

Finally,    the     three       hospitals       require      a   doctor    with

privileges         to      maintain         a        ‘covering-physician’

relationship with another doctor on the medical staff of

the particular hospital.            Dr. Roe testified that she did

not know of a doctor at any of those hospitals who would

agree to affiliate with her for the purpose of keeping

the Planned Parenthood clinic open.

    Finally,        the     University          of        Alabama-Birmingham

hospital requires that a doctor be appointed to the

medical    school       faculty     to    obtain      privileges      at    the

hospital.     Dr. Roe previously was on the faculty and

reached     out    to     the    university          to    investigate     the

possibility of a volunteer, unpaid faculty appointment

which   would      allow    her    to     obtain      privileges     at     the

hospital.         However, the current chair of the OB/GYN

department, who had not been there when she was on

faculty, explained to her that he would not hire her

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because of her work providing abortions and serving as

medical director for Planned Parenthood.                   Because the

university hospital is a state-funded institution, the

chair did not want to involve his department with what he

considered to be a politically contentious organization

and procedure, that is, abortions.

      Testimony from two Birmingham hospitals buttresses

the conclusion that Dr. Roe will not gain privileges at

a Birmingham hospital.           A representative of Princeton

Baptist     Hospital        testified     that    to     secure    staff

privileges that would satisfy the statutory requirement,

a doctor must live within a “reasonable distance” of the

hospital.      Tr. at II-112:7-10.            No doctor with such

privileges has ever lived more than 26 miles away.                    The

committee considering applications for such privileges

has   never     made    an    exception      to   this    rule.       The

representative for Medical West Hospital in Bessemer,

Alabama,      about    20    miles    from    downtown     Birmingham,

testified      that    the     hospital      similarly      imposes       a

geographical constraint.             In the past five years, the

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hospital      has    granted       staff        privileges      to   six

obstetricians and gynecologists and all have resided

within the Birmingham suburbs.

    The court is therefore firmly convinced that Dr. Roe

could   not    obtain    privileges        at    a   hospital   in   the

Birmingham metropolitan area that would be sufficient to

satisfy the staff-privileges requirement.14



                             iii. Mobile

    Dr. P1 is the current abortion doctor at the Mobile

clinic.    She flies into Mobile to provide abortions, but

otherwise resides in Georgia.           She is not willing to move

to Mobile from her current residence in Georgia because

she would have to sacrifice access to the variety of

medical opportunities that are available in the Atlanta

area.      Currently, Dr. P1 has staff privileges at a

teaching hospital in Atlanta, but she does not have any

such privileges at any hospital in Alabama.


    14. Dr. P1 occasionally performs abortions in
Birmingham as well, but is similarly situated to Dr. Roe.

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    There are four hospitals in Mobile that offer staff

privileges that could satisfy the statutory requirement.

Dr. P1, like Dr. Roe, reviewed the prerequisites at each

hospital and credibly concluded that they would bar her

from obtaining the required privileges. Mobile Infirmary

and Springhill Memorial Hospital both maintain geographic

requirements      which      Dr.     P1    cannot      satisfy,      and

representatives from those two hospitals confirmed that

no doctor has been exempted from the requirements.

    Three of the hospitals, Springhill, Mobile Infirmary,

and University of South Alabama, also require a doctor to

see a minimum number of patients at the hospital, a

requirement which Dr. P1 could not meet because her

non-abortion practice is located in Georgia.               Each of the

four hospitals also requires references and coverage

agreements with other doctors who have staff-privileges

at the hospital.      Dr. P1 has one professional contact who

could potentially satisfy this requirement, Dr. P10, the

‘covering    physician’      for   the    Mobile    clinic.         (The

covering-physician        requirement,      established       by   state

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regulation, is described in more detail below.               See infra

at § IV.B.1.d.)        However, she is separately ineligible

for privileges at the hospital where Dr. P10 practices.

Furthermore, because Dr. P1’s practice is in Georgia, she

testified that she does not have those contacts at the

other hospitals.       Finally, Providence Hospital, requires

that all members of its medical staff “adhere to ... the

Ethical and Religious Directives for Catholic Healthcare

Services.”      Providence Hospital Bylaws, PX 18, at 9,

§ 2.2-1(b).      That hospital “ha[s] publicly spoken out

against    abortion,”      Tr.    at    IV-188:12-13,       making        it

unlikely that Dr. P1 could secure privileges there.

    Dr. P1 faces an additional barrier. She was trained

as a family-medicine physician, with a fellowship in

family planning.       With this specialty, she is qualified

to provide abortions, but she is not qualified to perform

hysterectomies or laparotomies since those are only part

of an OB/GYN residency.




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       From this evidence, the court is firmly convinced

that    Dr.    P1    could   not    obtain   privileges    that    would

satisfy the staff-privileges requirement.15



                iv. Waivers & Making Doctors Try

       The State argues that, despite the evidence that the

current doctors are ineligible for privileges at local

hospitals, the court should nonetheless refuse to find

that the doctors would not receive privileges until the

doctors actually apply.            It argues that, for example, the

hospitals may choose to make exceptions or grant waivers

to their prerequisites.            The parties disputed at summary

judgment      whether    such      exceptions   would   or    might       be

granted.       Thereafter, the court gave the parties the

opportunity to present evidence at trial on the issue.

Despite       this    invitation,      no    credible   evidence      was

presented to show that any one hospital would grant an


    15. Dr. Roe occasionally performs abortions at the
Mobile clinic, but would similarly be unable to meet the
geographic and minimum-patient criteria for the Mobile
hospitals.
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exception to its prerequisites for staff privileges to

accommodate the abortion doctors.16                Evidence of mere

possibility and speculation is insufficient to rebut the

consistent evidence that the abortion clinics’ doctors

are ineligible for privileges that could satisfy the

statute’s requirement.17

    The    plaintiffs’      clinics’      doctors     did   not    apply

because it would damage their professional reputations to

file such futile applications.            Significant evidence to

this effect was presented at trial.                  As the Baptist

Health representative testified credibly, “it is in the


    16. The Medical West representative testified that
her    hospital     maintains     relationships     with
tele-radiologists, who analyze X-rays and other imaging
results from afar, and shift-based hospitalists, who are
employees of the hospital. A doctor in either category
would not be able to admit and perform procedures on a
patient whom the doctor had been treating outside the
hospital. Therefore, these categories of privileges for
which exceptions are made to the residency requirement
would not satisfy the staff-privileges requirement.

    17. In fact, in the Mississippi case, the court noted
that discretion on the part of hospital credentialing
committees was used, not to make exceptions for abortion
doctors, but to deny their applications for privileges.
Jackson Women’s Health, --- F.3d at ---, 2014 WL 3730467
at *2, *2 n.3.

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physician’s best interest to go through everything and

make sure that they meet all the criteria because, again,

it’s   not--it’s     not   beneficial        to   them   to--to     submit

something      that’s   going     to    be      rejected.”         Tr.    at

IV-168:16-20.       The State argues that there would be no

such    consequence        because        rejections         of     futile

applications are not reportable to the National Provider

Data   Bank,    a   database     of     doctors’     credentials         and

reputations. However, many hospitals in their privileges

applications require doctors to disclose all previous

applications that they have withdrawn or that were denied

for any reason.         Therefore, even an application that

never gets reported to the Data Bank could adversely

affect a future, non-futile, privileges application. Dr.

Roe testified credibly that, if a doctor presented an

application      that   revealed        large     numbers     of    futile

privileges applications, the hospital committee “will

look at you unfavorably, knowing that, professionally,

you did not take into account to respect the bylaws of

the hospitals and you casually applied for privileges at

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all hospitals even when you knew you could not meet the

bylaws.”    Id. at IV-54:3-7.

      Finally,     the    court    does     not   accept    the   State’s

characterization that the plaintiffs and their doctors

have not tried to secure privileges.                   The Montgomery

clinic administrator made sincere efforts to determine

the application process for staff privileges, so that her

doctors    could    apply,        if   they   were   eligible.         She

determined that they were not.                Dr. Roe reached out to

the    University        of   Alabama-Birmingham           hospital,      as

described above, and also attempted to secure privileges

at another Birmingham hospital which has now closed.



                    (c) New Abortion Doctors

      The State argues that, even if the four current

abortion doctors at the plaintiffs’ clinics cannot gain

staff privileges at local hospitals, the requirement may

not actually affect women who seek abortions.                     Perhaps

the current clinics would recruit and hire new doctors

who already have or can obtain local staff privileges?

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Or perhaps other doctors, who either currently reside

locally or who may move from out of state, would begin

performing abortions to satisfy the apparent demand?                      As

the discussion above shows, any new doctor would have to

reside and maintain an active gynecological practice in

the area in which she provides abortions.

       The State points to a handful of instances when local

clinics were able to recruit a local doctor to serve as

a covering physician, and to the fact that, as recently

as 2012, the Birmingham clinic employed abortion doctors

who    lived    in    the   area      and   therefore     met   residency

requirements for staff privileges at local hospitals.

However, as discussed more fully below, the court finds

that    the    number     of    abortion     doctors    nationally      and

throughout      the     South    is    declining;      the   decision     to

perform       abortions        carries      detrimental      professional

consequences in Alabama; violence against and harassment

of abortion providers, beyond run-of-the-mill political

protest, persist in the State; prior attempts to recruit

local doctors have failed dramatically; and there are

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significant regulatory barriers to entry for a new doctor

to begin providing abortions at any scale.

    For these reasons, the court finds that it is most

unlikely that the plaintiffs’ three clinics would find

new doctors who hold or could obtain staff privileges to

satisfy the requirement, nor will any new clinics open in

the foreseeable future.            Thus, if the staff-privileges

requirement were to go into effect, it would eliminate

abortion    availability      in    Montgomery,     Birmingham,      and

Mobile.



                         i. The Raw Numbers

    A     severe      scarcity     of   abortion     doctors     exists

nationwide and particularly in the South.                   Sixty-nine

percent    of   all    counties    nationwide      have   no   abortion

doctors at all.        Between the years of 1982 and 2005, the

number of abortion providers in the country decreased by

38 %.   Only 14 % of OB/GYNs in the United States provide

any abortion services, including abortions for fetal

anomalies or to save the life of a mother, and only 8 %

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percent of OB/GYNs in the South perform any abortions at

all, compared to 26 % in the Northeast.                   In Louisiana,

Alabama, and Mississippi, no residency program offers

abortion training to OB/GYN medical residents.                   Based on

these numbers, it is perhaps unsurprising that no doctor

in the entire State of Alabama performed an abortion in

her private office from 2007 through 2012.                       When the

Huntsville clinic, the last abortion clinic to open in

the   State,    opened     in   2001,     there    were     12    clinics

providing abortion.        Today, that number has declined to

five.

      There are many causes of the scarcity.                 First, it

goes without saying that some, and perhaps many, doctors

in Montgomery, Birmingham, and Mobile would never perform

elective    abortions     out   of     deeply   held   religious      and

ethical    convictions.         Even    among     those    doctors    who

support abortion rights, some do not have training on how

to perform an abortion.         Finally, even those doctors who

are supportive of abortion rights and trained to perform

an abortion are extremely unlikely to begin performing

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abortions    in     these    three   cities,    due   to   the    severe

professional consequences of doing so and the lingering

threat of violence against abortion doctors, particularly

in Alabama.



                   ii. Professional Consequences

    Dr. Lori Freedman, an expert for the plaintiffs,

persuasively described the professional consequences for

doctors who provide abortions.            Even among doctors who do

not view abortion doctors negatively, a phenomenon that

Dr. Freedman names the ‘cautionary tale’ is a barrier to

recruiting     new    abortion       providers:    Doctors     who     may

consider performing abortions are warned, explicitly or

by example, of the negative consequences past abortion

doctors     have     faced    for     providing    abortions      in      a

particular community.         For example, a doctor considering

becoming an abortion provider may hear stories of past

abortion     doctors        who   were    ostracized       from    their

communities for being “abortionists,” or of others whose

private practices were destroyed by protests due to their

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affiliations with abortion clinics.                      A doctor who is

considering performing abortions therefore learns that

any degree of abortion practice comes at a cost of losing

her standing within the local medical community, and

possibly      also     risking      her      ability     to   maintain      an

independent practice seeing other patients.

       According to Dr. Freedman, the stigma of abortion and

the ‘cautionary tale’ are particularly strong in small

and mid-sized cities.              An abortion doctor in a larger

urban area can maintain anonymity and more easily find a

medical professional community supportive of abortion

rights, thereby mitigating the stigma the doctor faces

for her work.          In small towns and mid-sized cities, an

abortion doctor is more recognizable and easily singled

out.      For example, in the course of Dr. Freedman’s

research, she spoke to one abortion doctor who moved from

a   large    urban     area   to    a     small   city    and   considered

providing abortions there.                However, he feared for his

reputation       and    the   detrimental         consequences     to    his

private practice in the new city, despite having provided

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abortion services for many years.               The court therefore

finds that it is highly likely that this effect would be

particularly strong in Mobile and Montgomery, while still

affecting doctors’ decision-making in Birmingham.

    Doctors affiliated with Alabama abortion clinics have

experienced     anti-abortion      stigma      consistent     with   the

‘cautionary-tale’       dynamic.        In    Huntsville,     Dr.    Carl

Palmer and clinic administrator Dalton Johnson opened the

Alabama Women’s Center for Reproductive Alternatives in

2001.    Because of difficulty finding a location that

would   agree    to   host   an   abortion      clinic,     the   clinic

originally operated in the same building as Dr. Palmer’s

own private OB/GYN practice. However, when anti-abortion

protestors discovered the abortion clinic, they started

to protest outside Dr. Palmer’s private practice.                    They

would confront non-abortion OB/GYN patients, particularly

pregnant women.       Even on days when Dr. Palmer provided no

abortion    services,      protesters        would   wave   images        of

late-term abortions at the women.             Eventually, Dr. Palmer

decided to discontinue his obstetric practice, that is,

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delivering babies, because he did not want to subject his

patients to the harassment.

    In 2004, Dr. Palmer passed away suddenly, and clinic

administrator     Johnson found Dr. A to continue performing

abortions at the clinic.           However, at that time, Dr. A

lived in California and was therefore unable to secure

staff privileges at a local hospital.                In order to stay

open,   the    clinic    needed     to   hire    a    local    covering

physician.      Johnson approached Dr. H1, a friend of the

late Dr. Palmer’s, to serve in that role, but Dr. H1 was

hesitant.     She had seen the ‘cautionary tale’ of Dr.

Palmer’s practice, and she feared that if she became

affiliated with an abortion clinic, she would also be

forced to discontinue her obstetric practice and would

not be able to support her family.              Johnson was able to

get Dr. H1 to agree to serve as covering physician, not

performing any abortions, only after he promised that the

relationship would remain confidential.

    Despite Johnson’s best efforts, Dr. H1's role as

covering physician was revealed.              Although she was not

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performing abortions herself, protestors came to her

private    practice    and    began     to    confront    her   pregnant

patients, just as they had Dr. Palmer’s.                   Again, they

held signs depicting third-trimester abortions.                      The

local leader of the pro-life movement told Johnson that

he would protest Dr. H1's practice for as long as Dr. H1

continued to serve as covering physician for the clinic.

Dr. H1 removed her children from their Catholic school

due to the publicity surrounding her affiliation with the

abortion clinic.      She “had a mass exodus of patients from

his   practice.”       Johnson     Test.,      Tr.   at   II-65:24-25.

Finally, she was forced to close the obstetric portion of

his practice.        Although she had initially refused to

perform    abortions     herself,       the   loss   of   her    private

obstetric practice pushed her into becoming a full-time

abortion provider so that she could continue to support

her family as a gynecologist in Huntsville.

      Recently, Dr. H2 has moved to Huntsville and opened

a practice there, in addition to her practice in Opelika,

Alabama.      At   Dr.    H2’s    new    practice    in    Huntsville,

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anti-abortion protesters have again begun to confront

pregnant        women     who   go   to    her   to   have   their    babies

delivered.          At     trial,     clinic     administrator       Johnson

movingly expressed his fear that Dr. H2 would be unable

to start and maintain an obstetric practice, just as Dr.

Payne’s and Dr. H1’s practices were shuttered.

       The court finds that the protests at the Huntsville

private practices go beyond the run-of-the-mill political

protests prompted by an issue as morally and politically

charged as abortion.             The protesters in Huntsville were

not targeting abortion patients and trying to dissuade

them from going through with the procedure.                    Cf. McCullen

v.     Coakley,     134    S.Ct.     2518,   2527     (2014)   (describing

“sidewalk counseling” protests and engagement at abortion

clinics).         Instead,       they     were   approaching     women   who

sought to carry their pregnancies to term.                     Rather than

attempting to change general public perceptions on the

issue      of   abortions       or   dissuade    women   from    obtaining

abortions, the court must infer that these protesters

sought to threaten economic destruction for any doctor

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who enabled the provision of abortion within the city.

They    succeeded         twice   in   ending      a    doctor’s       obstetric

practice.

       Doctors in Birmingham were also forced to choose

between providing abortion and maintaining their private

practice.         Dr. P7 and Dr. Roe had both worked at a

private practice in Birmingham, while also providing

abortions     at       independent      clinics,            including    Planned

Parenthood.       However, when the director of their practice

learned      of     Dr.    P7’s     work     providing         abortions,        he

initiated         an      investigation         against          the     doctor.

Ultimately, Dr. P7 was forced to choose between providing

abortions or keeping her job.                   She stopped performing

abortions.        Soon, Dr. Roe was faced with the same hard

choice and ultimately decided to leave the practice,

rather than stop providing abortions.

       In   2009,      Planned    Parenthood           tried    to     recruit   a

Birmingham-area           OB/GYN,      who   was        a    large     financial

contributor to the organization, to provide abortions at

the clinic.            However, despite her strong support for

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abortion rights, the doctor refused to provide abortions.

“[S]he and her family did not want to be associated with

the stigma associated with providing abortions for family

planning.”       Buchanan Dep. at 107:13-16.

    The Montgomery clinic also experienced the power of

anti-abortion stigma to keep doctors from affiliating.

Wary and fearful of other medical professionals learning

of his affiliation with abortion clinics, the original

doctor    whom    the   administrator     secured     as   a   covering

physician refused to sign a written contract to that

effect.    As soon as state investigators contacted him, he

terminated the affiliation because such a call put his

anonymity and therefore professional reputation at great

risk in the Montgomery medical community.

    Any doctor who would consider starting to perform

abortions in the three cities would likely hear the

‘cautionary tales’ about the experiences of Dr. Palmer,

Dr. H1, Dr. H2, Dr. P7, and Dr. Roe.              She would realize

that there was a good chance that an affiliation with

abortion would lead to harassment of her non-abortion

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patients, potentially preventing her from continuing to

deliver      babies.      Given    the   intensive      training     for

obstetrics, the loss of that part of a doctor’s practice

would   be    significant.        This    dynamic    creates     strong

pressure, even for abortion-rights supporters, not to

perform abortions.



                       iii. Fear of Violence

    Beyond the professional consequences of providing

abortion, potential abortion doctors must also consider

the physical threats to them and their families.                          As

described above, Alabama has a particularly disturbing

history of violence towards abortion providers.

    To review, the first abortion doctor in the nation to

be murdered, Dr. David Gunn, provided abortions at the

Montgomery clinic, among other clinics.              He was murdered

in 1993.      A now-closed clinic in Birmingham was bombed,

killing an off-duty police officer serving as a security

guard   and    wounding     a   nurse.      Not    long    after,    the

Tuscaloosa clinic was essentially destroyed by an arson.

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That clinic was later attacked by a driver who ran his

car into the front of the building.                There were other

incidents of violence as well.

      These prior acts of violence provide a more than

reasonable basis for abortion providers in Alabama to be

afraid.     Dr. Roe testified that: “Every time I go to

work, whether it's in Birmingham or Mobile, I'm always

afraid that there will be somebody who is in the crowd

who is passionate enough about the topic that they're

willing to shoot.        I worry about my children.             I worry

about my husband, my extended family.”             Tr. at IV-60:1-5.

As she delivered this testimony, there was a hush over

the courtroom, as the court and all others in attendance

heard the palpable fear in her voice.

      Dr. Roe’s fears have been strengthened by several

incidents of extreme harassment.                 In one instance, a

protestor tailgated and followed her car on the highway

as she left the Birmingham clinic en route to her home in

Atlanta.    She testified that: “I realized that every time

[I]   switched    lane[s],      whatever     I   did,   the    car   was

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matching my moves.”         Id. at IV-64:19-20.       She feared that

the driver would run her car down or run her off the road

into a ditch.      She was able to escape safely only after

a colleague gave her instructions on evasion techniques

over her cell phone.             In another incident, a protestor

called   Dr.     Roe   by   name    as   she   entered    the   clinic,

threatening that “they were coming for [her]” in Atlanta.

Id. at IV-65:15.          Based on these incidents and others

like them, her home is under FBI surveillance and has a

security system. She also takes additional precautionary

measures    in    order     to    maintain     anonymity,    including

disguising her clothes, covering her face, and renting a

different car every time she drives from her Atlanta

residence to an Alabama clinic.

    Like    Dr.    Roe,     Dr.     P1   experiences     threats     and

hostility beyond run-of-the-mill protesting at the Mobile

clinic where she performs abortions.              Mobile protestors

placed the doctor’s picture on an anti-abortion poster

and regularly call her by her first name as she enters

her clinic.      Dr. P1 has worked at two clinics that were

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targeted for violence, including the Birmingham clinic

that was bombed by Eric Rudolph, killing a police officer

and wounding a nurse.        As a result, she takes all threats

from anti-abortion protesters seriously.                 She does not

use the same car twice when traveling to her clinic, only

accepts personal mail through a Post Office Box, and

prefers not to receive packages at her home.

    Huntsville clinic administrator Johnson takes similar

safety measures.         He uses an alarm system at home,

carries a personal firearm for protection, changes his

everyday routine frequently, and visits a grocery store

in a different area of town because protestors would

confront him and harass him at his local grocery store.

    Drs. Roe and P1 continue to provide abortion services

in Alabama despite the State’s history of violence and

threats against abortion doctors, but other doctors have

responded to the hostile environment differently.                   When

anti-abortion activists in the State leaked Dr. P3’s

personal    and   professional      information,       including     her

Social Security number, onto the internet, she gave up

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her abortion practice and moved to another State.                             Dr. D,

an abortion provider at the Montgomery clinic for ten

years,    ceased          providing         abortions        in        2012      when

information     she       provided      to     the     Board          of   Medical

Examiners     for    licensure         was    similarly          leaked        to   an

anti-abortion       website.           In    addition       to        professional

information,        her    home   address,       personal              cell    phone

number, names of family members, and photograph were

posted   to   the     website.          This     incident,             along     with

repeated attempts by protestors to take photos as she

entered the clinic, ultimately caused her to quit her job

at the Montgomery clinic.

      Clinic administrators for the Montgomery, Birmingham,

and Huntsville clinics each offered examples of doctors

declining     requests       to    affiliate          with        a    clinic       or

expressing     great       apprehension         out    of     fear         for      the

physical safety of themselves and their families.

      Therefore, the court finds that even those doctors

who support abortion, who have training in abortion, and

who   would   be     willing      to    withstand       the           professional

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consequences of performing abortion would not agree to

perform abortions because the threat of physical violence

and harassment is so overwhelming.



               iv. Previous Recruitment Efforts

    Prior failed attempts by clinic administrators to

secure local doctors to affiliate with Alabama abortion

clinics    reinforce       the   conclusion       that   it    would      be

difficult    to   find      local   OB/GYNs    willing        to   provide

abortions in Montgomery, Birmingham, and Mobile.

    In    1999      and     again    in    2003,     the      Montgomery

administrator, to comply with state regulations, sent a

letter to every OB/GYN in the Montgomery area, seeking a

local    covering    physician      to    treat    any   post-abortion

complications (described in further detail below).                        In

both years, she received only negative responses.                      One

OB/GYN explained that he did not “wish to be involved in

any way with any facility that provides such services.”

PX 37 at RHS-64.          Another rejection from 2003 reads, “I

speak for my entire practice when I say we must refuse

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any   involvement     with    your      endeavors.    ...    [W]e    have

committed our practice to the preservation of human life,

not to the destruction of it.”              Id. at RHS-82.          In an

attempt to recruit a local covering physician for his

Huntsville     clinic,     administrator       Johnson       also    sent

letters to every OB/GYN in a 30-mile radius of his

clinic.   Johnson’s      letters     reached     roughly     40     to    50

physicians, but he received no positive responses.

      Between 2006 and 2013, the former administrator of

the Birmingham clinic attempted to recruit about eleven

local physicians to work there, but received negative

responses from all.       For example, as described above, she

made several attempts to recruit a local OB/GYN who

donated significant funds to Planned Parenthood and was

a strong supporter of abortion rights.                      Despite the

doctor’s support for abortion rights, she refused to

perform abortions at the clinic, out of fear for her

family’s safety and the effects of anti-abortion stigma

on her private practice.



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                        v. Barriers to Entry

       To the extent that the State suggests that a local

doctor may be willing to perform abortions outside the

auspices of the plaintiffs’ clinics, it is important to

understand the regulatory landscape that would apply to

her.        Alabama    law   classifies        as    an    “Abortion      or

Reproductive Health Center” any health care facility or

doctor’s office that advertises itself as performing

abortion or any such facility or office where ten or more

abortions are performed during a month or 100 or more

abortions are performed during a calendar year.                        Ala.

Admin. Code § 420-5-1-.01(2)(d).           Any doctor who replaced

even    a   fraction    of   the   capacity     of    the    plaintiffs’

clinics     would     therefore    be   regulated     as    an   abortion

clinics.

       Alabama law imposes several architectural and safety

regulations on Abortion or Reproductive Health Centers.

The building must meet several designated safety codes,

including     the     standards    for    an    Ambulatory       Surgical

Center.      1975 Ala. Code § 26-23E-9.              The facility must

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abide by the state standards for office-based surgeries

that involve moderate sedation/analgesia, regardless of

whether any anaesthesia is ever used.                  § 26-23E-8.      The

facility would have to abide by specific regulations on

personnel,         record-keeping,          medical       supplies,     and

administration         which     are    different      from     and    more

extensive than the regulations for a doctor providing

office-based         surgery.          Compare      Ala     Admin.     Code

§§ 420-5-1-.01 through -.04 (regulations for Abortion or

Reproductive        Health     Centers)      with   Ala.    Admin.     Code

§§       540-X-10-.01        through        -.13    (regulations        for

office-based surgery).             These requirements would apply

even to a doctor who provided only medication abortions,

which consist of the oral administration of two sets of

pills.

       In other words, a doctor could not casually begin

offering abortions in an office setting.                  She would need

a facility that met the architectural requirements of an

ambulatory        surgical     center.        She   may     also   need      a



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significantly larger staff in order to meet the personnel

requirements.

       These    regulatory       requirements            alone   would       likely

discourage many doctors from opening a new clinic, but

the general hostility to abortion among many in Alabama

makes    the     logistics       of    opening       a    clinic       even    more

difficult.          As noted above, the last abortion clinic to

open    in     the    State    was     the    Huntsville         one    in    2001.

Administrator          Johnson        testified      to      the       day-to-day

difficulty of operating a clinic.                    He stated that even

locating space can be a challenge: “[A]s soon as we would

sit down with the realtor or the owner of the property

and we would tell them that an abortion clinic was going

in there, they--they wouldn’t lease to us.”                            Tr. at II-

59:4-7.        The company that had serviced Dr. Palmer’s

medical      equipment        for     20     years   refused       to     provide

services       to    the   clinic,         forcing       Johnson   to     hire    a

servicer from more than 100 miles away, adding $ 500 to

the cost of every repair.              Even the simple act of calling

a plumber becomes complex:

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          “People don't realize--hiring a plumber.
          In your mind, you have to strategically
          think, okay, what day are the protestors
          not going to be out there so they won't
          harass this man.     And you know, I'm
          always straight up and honest and tell
          people, hey, you know, you're coming to
          the local abortion clinic.     You know,
          and you try to, you know, tell them
          straight up so they won't be surprised.
          But, you know, even--I had my water
          heater replaced at my house. And thank
          God I can just look in the phone book
          and call Mr. Rooter and don't have to go
          through this whole story and go through
          this whole thing of planning out how to
          get the plumber in so he won't get
          harassed. And it's to the point that
          you don't even worry about how much it
          costs.   You're just glad that they're
          there to--they're there to cover and
          supply services.”

Id. at II-55:6-19.

    In reviewing these difficulties, the court does not

intend to chastise or criticize those individuals who,

because of deeply held beliefs or for any other reason,

choose   not    to   do   business      with   abortion     providers.

Within the boundaries of the law, individuals are free to

conduct their affairs as they see fit.                  Nor does the

court intend to make any claims or insinuations about the


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legitimacy or propriety of abortion regulations in the

State apart from the staff-privileges requirement. These

facts are presented instead to illustrate why facile

assertions that new abortion providers would emerge to

replace the plaintiffs’ clinics are unconvincing.



                   vi. The Economic Arguments

    The    State    argues    that      the   regulation    would    not

diminish    the    provision     of     abortion    services     either

because clinic administrators could overcome difficulties

finding local abortion doctors if they were simply to pay

doctors more or because new doctors would start clinics

to satisfy the demand for abortion services.

    The first argument relies in part on the discrepancy

between the amount that the plaintiffs pay their doctors

per procedure and the insurance reimbursement rates that

doctors in private practice apparently charge for similar

procedures.     From this discrepancy, the State argues that

doctors choose not to provide abortions because it is not

lucrative enough, relative to other options.                   However,

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the plaintiffs’ expert Dr. Paul Fine explained that this

is an inapt comparison.        Insurers do not always reimburse

for the full listed rate.               Furthermore, the insurance

rate covers various overhead, equipment, and staffing

costs that are not included in the rate the plaintiffs

pay their doctors, as those costs are paid by the clinics

themselves.      Therefore, the court cannot find on this

record that the plaintiffs pay below-market rates for

their doctors.

    Nonetheless, the State’s argument holds a certain

simplistic appeal.        In the words of the State’s expert

Dr. Peter Uhlenberg, describing the potential for new

clinics opening, “If we think of this as a supply and

demand and the demand is high, the market is there,

there’s no reason to expect that someone wouldn't step

forward     to     provide       that      service.”           Tr.        at

VI-101:23-102:1.

    As the discussion above makes clear, there are in

fact several very good reasons to expect that no one

would step in to provide abortion services.              Many OB/GYNs

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in Alabama do not know how to perform an abortion because

many residency programs in the region do not offer the

training;     many     OB/GYNs      have    strong      anti-abortion

convictions; and others fear, reasonably, that they could

not provide abortions without sacrificing another part of

their practice or that providing abortions would expose

them and their families to violence.               The court finds,

therefore, that the inability to obtain local abortion

doctors is not a matter of money, but rather a reflection

of the difficulty of pursuing that occupation in the

State.

    Indeed, the court finds that doctors who continue to

provide abortions in Alabama, despite the overwhelming

pressures not to, do so because of a deep personal

commitment to ensuring that safe and legal abortions are

available to women in Alabama.               Administrator Johnson

continues to operate the Huntsville clinic because he

doesn’t see “the point of it being legal if there’s

nobody here to perform it.”          Tr. at II-87:10-11.        Dr. Roe

questions her decision to continue providing abortions

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every time she goes to a clinic because of the risks

involved, but continues her work because she does not

know anyone else who would be willing to provide care to

Alabama women in “very difficult situations, having to

make very difficult decisions,” and she could not “turn

[her] back on them.”         Id. at IV-68:13-15.          Dr. A flies

from Nigeria to Atlanta at her own expense to provide

abortions    at    the   Montgomery      and    Huntsville        clinics

because of the experiences she had treating women who

received illegal abortions prior to the legalization of

abortion.    Having seen women “messed up for life” due to

unsafe and illegal abortions, she believes that, “where

there’s a chance to help a patient terminate a pregnancy

for    whatever    reason,      lawfully,”      she    has    a     moral

responsibility to do so.           Id. at V-106:9-11.

       For all of these reasons, the court finds that the

four    doctors   who    currently      work   at   the    Montgomery,

Birmingham, and Mobile clinics will not be able to obtain

staff privileges and that new doctors who are eligible

for staff privileges would not emerge to take their

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places.       Therefore, the court is firmly convinced that,

if     the   staff-privileges          requirement       were    to    go   into

effect, it would wipe out the availability of abortion

services in Montgomery, Birmingham, and Mobile.



                           2. Effect on Women

       Determining       how     the    staff-privileges         requirement

affects abortion providers is only the beginning of the

court’s inquiry.            The rights of the doctors and the

clinics to provide abortion are “derivative” of women’s

rights to make family decisions and to physical autonomy.

Casey, 505 U.S. at 884.                Abortion doctors themselves do

not receive special protection, relative to the general

constitutional          rights         of    physicians         and    medical

providers,        absent    an    effect      on   the    women       who   seek

abortions.        Id.

       By wiping out abortion availability in three of

Alabama’s       five    largest        cities,     the    staff-privileges

requirement would affect women who seek abortions in the

State in several ways.             First, the patients who live in

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Montgomery, Birmingham, and Mobile would need to travel

outside     of    their   respective      cities     to   procure         an

abortion, which would cause three kinds of harms.                         A

significant number of the women would be prevented from

obtaining    an    abortion;     others     would    be    delayed        in

obtaining abortions, exposing them to greater risks of

complications; and even the women who are able to obtain

abortions would suffer significant harms in terms of

time, financial cost, and invasion of privacy.                  Second,

for all Alabama women, the number of abortions that can

be performed in the State would be radically diminished,

with every indication that the statewide capacity of

abortion services would further diminish, rather than

increase, in the future.         Finally, and particularly with

the advent of illegal sales over the internet, there is

significant risk that women who are unable to procure

abortions would turn to unsupervised and unsafe use of

abortion-inducing medications.




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                              (a) Distance

                       i. Statistical Evidence

    First,       the        plaintiffs     introduced      substantial

statistical evidence, through their expert Dr. Stanley

Henshaw (whose testimony the court credits), that women

forgo abortions at higher rates when they must travel

farther to reach an abortion provider.

    A major example of this effect was documented by

economics researchers Silvie Colman and Ted Joyce.                  They

reviewed the effects of a Texas law that effectively

eliminated,      for    a    two-year     period,    availability         of

abortions    after      16-weeks       gestational   age   within    the

State.   In the face of this restriction, some women were

able to schedule abortions before the 16-week cutoff.

Other    women    obtained       the     abortions   out    of   state.

Nonetheless, after reviewing health records in Texas and

the surrounding States, Colman and Joyce found that a

significant number of women--likely more than half of

women considering late-term abortions--when faced with an

average travel distance of 200 miles to the nearest

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late-term    abortion     clinic,       simply   did   not    obtain      an

abortion at all.

    Furthermore,       other    studies     reviewing        changes      in

distance that women must travel to obtain an abortion

have consistently found that a woman who lives farther

from abortion facilities will be less likely to obtain an

abortion.     One study found that the percentage of women

who obtain an abortion dropped with each additional ten

miles of distance.       Another found that an increase of 100

miles in travel distance reduces the abortion rate by

almost 22 %.     A third found that, conversely, opening new

clinics substantially increased the abortion rate in the

surrounding areas, further confirming the relationship

between distance from a clinic and the likelihood that a

woman will obtain an abortion.

    Furthermore, increased travel distance causes delays

for women who do secure abortions.                In two surveys of

women who obtained abortions later than they had wanted,

7 % and 12 %, respectively, attributed the delay to

difficulties arranging transportation that arose from not

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having an abortion provider nearby.                Furthermore, 26 %

and 28 %, respectively, reported that they had to delay

their abortions in order to save money to pay for the

procedure; as described below, increased distance makes

it more costly for a woman to obtain an abortion.

    While     early-term      abortions      are    quite    safe,        as

discussed below, the procedure carries greater risks if

delayed past the 14th week of the pregnancy.                Later term

abortions are also more expensive.               Finally, delay past

a certain point would make it illegal for a woman to

obtain an abortion.       In Alabama, abortion is illegal once

the pregnancy reaches 20 weeks, with certain exceptions

for the life and health of the mother.



                     ii. Qualitative Effects

    The testimony of plaintiffs’ expert Dr. Sheila Katz

is useful in explaining why additional distance has the

effect of decreasing abortion rates.               While much of her

testimony     reflected     general      facts     about    women     and

abortion    patients     nationally,       she     interpreted      those

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general    statistics     as   they     relate   to   the   nature        of

Alabama women in general and to abortion patients in

particular.     As a preliminary matter, it is essential to

understand that the large majority of abortion patients,

particularly in Alabama, survive on very low incomes.

More than 70 % of the patients at Planned Parenthood’s

clinics in Mobile and Birmingham live at or below 150 %

of the poverty line.       In particular, the administrator of

the Mobile clinic testified that 90 % of that clinic’s

patients    live   in   poverty.        The   demographics      of    the

Montgomery clinic’s patients are similar; 60 % of the

patients qualify for financial assistance.               Cf. Strange,

--- F. Supp. 2d at ----, 2014 WL 1320158 at *14 (the

court should consider “the nature and circumstances of

the women affected by the regulation”).

    For these women, going to another city to procure an

abortion is particularly expensive and difficult.                    Poor

women are less likely to own their own cars and are

instead    dependent      on   public     transportation,        asking

friends and relatives for rides, or borrowing cars; they

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are less likely to have internet access; many already

have children, but are unlikely to have regular sources

of child care; and they are more likely to work on an

hourly basis with an inflexible schedule and without any

paid time off or to receive public benefits which require

regular attendance at meetings or classes.                A woman who

does not own her own car may need to buy two inter-city

bus tickets (one for the woman procuring the abortion,

and one for a companion) in order to travel to another

city.     Without     regular    internet     access,     it   is   more

difficult to locate an abortion clinic in another city or

find an affordable hotel room.             The additional time to

travel for the city requires her to find and pay for

child care or to miss one or several days of work.

Furthermore, at each juncture, a woman may have to tell

relatives, romantic partners, or work supervisors why she

is leaving town: to procure an abortion.                And, in light

of the pervasive anti-abortion sentiment among many in

Alabama, such disclosures may present risks to women’s

employment and safety.          Finally, as Dr. Katz testified,

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many low-income women have never left the cities in which

they live.       The idea of going to a city where they know

no one and have never visited, in order to undergo a

procedure that can be frightening in itself, can present

a     significant         psychological         hurdle.           “[T]his

psychological       hurdle     is   as    serious   a   burden    as    the

additional costs represented by travel.”                  Katz Rep., PX

56 at ¶ 24.

      Here, the court must note an error that some courts

have made in their undue-burden analyses.                  These courts

have treated obstacles that arise from the interactions

of regulation with women’s financial constraints, as well

as other aspects of women’s circumstances, as ineligible

to be “substantial obstacles” under Casey.                   See Planned

Parenthood of Greater Texas v. Abbott (Abbott I), 734

F.3d 406, 415 (5th Cir. 2013) (describing some women’s

inability to travel to a remaining clinic, due to limited

immigration        authorization,         as    “unrelated       to     the

hospital-admitting-privileges              requirement”).          In       so

holding, the Abbott I court relied on Supreme Court and

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Fifth      Circuit         cases       which       refused        to        find

unconstitutional governments’ decisions not to subsidize

abortion in a way that they subsidized other medical

procedures, including childbirth.                 Id. at 415 nn. 45 & 49

(citing K.P. v. LeBlanc, 729 F.3d 427, 442 (5th Cir.

2013)    (refusing        to   find    that    exclusion     of     abortion

providers      from   a    state      malpractice-insurance            subsidy

constituted an undue burden), and Harris v. McRae, 448

U.S.    297,   316    (1980)       (holding,      under   the      pre-Casey

strict-scrutiny        framework,          that    denial     of       federal

Medicaid funding for abortions does not infringe on the

constitutional right to abortion)).

       The public-funding cases do not show that obstacles

that are aggravated by poverty are irrelevant to the

constitutional        analysis.         The    Supreme      Court      in    the

public-funding        cases    distinguished        between     “plac[ing]

obstacles in the path of a woman’s exercise of her

freedom of choice” and “remov[ing] those not of its own

creation.”      Harris, 448 U.S. at 316.             In cases like this

one, while poverty may be relevant, the plaintiffs seek

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only for government not to regulate in a way that makes

it more difficult for those poor women, that is, not to

place an obstacle in the path.              In the public-funding

cases, plaintiffs sought to force affirmative government

action to facilitate women’s             abortions, removing the

difficulties that poverty creates generally.                There is a

difference between declining to interfere with a person

and refusing to assist her.          The plaintiffs in this case

ask only that Alabama not interfere with their patients’

ability to obtain abortions.

    Nor would a court that sought to ignore obstacles

aggravated by the realities of poverty be wise to rely on

Casey’s observation that, “Whether a burden falls on a

particular group is a distinct inquiry from whether it is

a substantial obstacle even as to the women in that

group.”     Casey, 505 U.S. at 887.              In that case, the

district      court       had      invalidated         Pennsylvania’s

waiting-period requirement because it would “ha[ve] the

effect of ‘increasing the cost and risk of delay of

abortions’”     and   those     harms   would     be   “‘particularly

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burdensome’” for poorer women, among other groups.                             Id.

at 886-87.       On this issue, the Supreme Court held that it

is      not      enough      to     say     that        a    regulation         is

unconstitutional because it makes it more difficult ‘for

me to obtain an abortion than it is for you.’                        Rather, a

woman must show that the regulation makes it sufficiently

difficult for her to obtain an abortion in and of itself.

       In Casey itself, the Supreme Court found that a

spousal-notification              requirement      was      an    undue    burden

because of its effect on women who were in abusive

relationships.         505 U.S. at 887-98.          The circumstances of

those women and their relationships were at the core of

the      Casey     analysis.           Casey’s       treatment            of   the

spousal-notification               requirement          shows       that       the

interaction of the state regulation and existing social

conditions can create an obstacle for women.                              And, if

that      obstacle      is    substantial,         it       can    render      the

regulation unconstitutional.                Cf. Vosburg v. Putney, 50

N.W. 403 (Wisc. 1891) (exemplifying the eggshell-skull

rule in tort law).

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                     iii. The First 50 Miles

    The    testimony      of   the      plaintiffs’    experts,     Drs.

Henshaw and Katz, also revealed an important aspect of

the relationship between travel distance and women’s

ability to obtain an abortion: when a clinic closes, the

largest effects are actually felt by women who, prior to

the closure, needed to travel only short distances, less

than 50 miles.

    This can be a somewhat elusive concept, so the court

will illustrate it with two hypothetical women.                      The

first woman lives in the same urban area as abortion

clinic X, which is just five miles away from her home.

The second woman lives in a rural area 60 miles away from

clinic X, which is the closest abortion provider to her

home as well.      Now imagine that clinic X closes, and the

abortion provider closest to both the urban woman and the

rural woman is now clinic Y.             This change adds 30 miles

to the distance each must now travel: the urban woman

must travel 35 miles total, and the rural woman must now

travel 90 miles.

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       The statistical and sociological evidence presented

in this case demonstrates that the closure of clinic X

will impose a much larger additional burden on the urban

woman than it will impose on the rural woman.               Before the

closure, the urban woman could obtain an abortion without

any    substantial    departure     from    the   logistics     of   her

every-day life.         For example, to get to the in-town

clinic X, she could ask for a short ride from a friend or

relative, take a taxi, or use public transportation.                      If

necessary, she might be able to arrange a short period of

time    off   work   and   childcare,      as   she   would    for   any

doctor’s appointment, without the need to disclose that

she was seeking an abortion.            But once the in-town clinic

X closes, she will need to arrange for travel outside her

city, which Dr. Katz’s testimony indicates may be highly

unfamiliar and difficult.          The greater time involved in

traveling outside her city may also mean that she needs

to arrange lodging, additional child care, and time off

work.     In the process, she may need to disclose the

purpose of her trip.         All this means that obtaining an

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abortion will now be much more difficult and burdensome

for the urban woman than it was when the in-town clinic

X was still open.

    In contrast, even before the closure of clinic X, the

rural woman already needed to travel 60 miles to obtain

an abortion.       She already needed to arrange for long-

distance travel to a city that might be unfamiliar and,

if applicable to her, already needed to arrange for child

care or time off work.        This is not to say that the extra

30 miles she must now travel would impose no additional

burden, for it would likely increase the time and money

she will need to obtain an abortion.               But the critical

point is this: even though, following the closure of

clinic X, the rural woman must travel a longer total

distance, 90 miles compared to the urban woman’s 35, the

evidence    in   this    case    demonstrates      that    the   clinic

closure    actually      imposes     a    much    more     significant

additional burden on the urban woman.

    Applied to the circumstances of this litigation, this

insight means that the most severe burdens created by

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this law are likely to fall on the women who live in

Montgomery, Birmingham, and Mobile and who therefore

currently have to travel only limited distances to obtain

an abortion.          That category of women, like the urban

woman described above, accounts for over half of the

patients at the three clinics that would close as a

result of the staff-privileges provision.

       And, as discussed above, the impact on those women is

likely to be quite substantial, and a significant number

would be prevented from obtaining a desired abortion at

all.     Indeed, if the staff-privileges requirement were to

go     into     effect,     the   shortest      trip    between     either

Montgomery,        Birmingham,       or    Mobile    and    the    nearest

in-state abortion provider would be the distance between

Birmingham and the Tuscaloosa clinic: a distance of 59

miles.        In other words, all the women who live in those

cities would now need to travel at least 59 miles to

obtain an abortion in Alabama.

       The court’s factual conclusion, that clinic closures

impose      the   greatest     additional      burdens     on   women   who

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previously lived close to an abortion clinic, directly

refutes one of the State’s arguments in this case.                     The

State   strongly     urged    this   court      to   apply    the   Fifth

Circuit’s conclusion in Abbott I and Abbott II that “an

increase of travel of less than 150 miles for some women

is not an undue burden under Casey.”             Abbott II, 748 F.3d

at 598.     The State’s argument seems to be this: if the

fact that women needed to travel 150 miles in the Abbott

cases did not constitute an undue burden, how could the

shorter travel distances in this case constitute one?

See State Pre-Trial Br. (Doc. No. 183) at 13.

      What this court has already said should make the

answer obvious: shorter total distances can sometimes

impose greater additional burdens than longer ones.                  For,

if the women who needed to travel 150 miles in the Abbott

cases were like the rural woman described above, the

additional burden may have been comparatively minor.                      By

contrast, the additional burden on a woman in Birmingham,

who previously could obtain an abortion within the city

and   now   would   need     to   travel   at    least   59    miles      to

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Tuscaloosa, is quite severe.               The State’s view of the

undue-burden     analysis     is     simply     wrong.    The     State’s

absolute comparison (150 miles versus 90 miles) fails to

take into consideration the many factors which bear on

the burden imposed by this regulation, particularly the

circumstances     of   the    women       of   Alabama   who    would     be

affected by it.

    Furthermore, the insight regarding the ‘first 50

miles’ also undermines the reasoning of the Abbott cases

themselves.       Those      cases    looked     to   Casey’s     opinion

upholding    a   24-hour     waiting       period,    concluding     that

“Casey counsels against striking down a statute solely

because women may have to travel long distances to obtain

abortions.”      Abbott II, 748 F.3d at 598.                   Casey did,

indeed, find that the additional travel time and costs

associated with Pennsylvania’s 24-hour waiting period did

not constitute a substantial obstacle.                505 U.S. at 887.

But, again, the factual context matters.                  The women at

issue in that portion of Casey were like the rural woman

described above: before the waiting-period provision,

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they already had to, and were able to, make a two-to-

three-hour trip to a clinic.            The new provision simply

required    them    to    make   that   trip     twice    or     to   stay

overnight.      By contrast, as discussed above, the clinic

closures in this case would impose severe new burdens on

the urban woman.         Thus, the evidence introduced in this

case    shows    that,    perhaps      counter    to     some    courts’

intuition, the burdens imposed by the additional travel

noted in Casey are significantly less severe than the

burdens imposed on the urban woman by clinic closures in

this case.

       Indeed      contrary      to     the      Fifth          Circuit’s

interpretation, Casey’s approach was consistent with this

court’s conclusion.        Casey did not set out to establish

any    bright-line legal rule about travel distances, but

merely reached a conclusion, “on the record before [it],”

about the additional distances in that case.                Casey, 505

U.S. at 887.       Courts, like the Abbott courts, err when

they seek to transform that factual conclusion into a

simplistic legal rule.           As this case demonstrates, in

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assessing       the   burdens   imposed      by   a   regulation,     the

factual details are critical.



                      iv. Out-of-State Clinics

       There has been significant discussion over the course

of   this     litigation    about      whether    the    court    should

consider women’s ability to secure abortions outside the

State    of   Alabama.      This      presents    a   difficult    legal

question.       On the one hand, the effects prong of the

undue-burden standard requires a real-world analysis.

See Strange, --- F. Supp. 2d at ----, 2014 WL 1320158 at

* 13 (court should consider obstacles “considering the

real-world circumstances”).              The court must acknowledge

that    state    boundaries     are    not   always     significant    in

women’s real-world decision-making.               On the other hand,

the State could identify no precedent for a court to

consider conduct outside the political boundaries of a

jurisdiction in order to justify the constitutionality of

actions by that jurisdiction.             On the contrary, in areas

ranging from First Amendment free speech to Fourteenth

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Amendment equal protection to Second Amendment firearm

rights, courts have refused to allow out-of-jurisdiction

access to cure within-jurisdiction restrictions.                    See,

e.g., Schad v. Borough of Mt. Ephraim, 452 U.S. 61 (1981)

(free speech); Missouri ex rel. Gaines v. Canada, 305

U.S. 337 (1938) (equal protection); Ezell v. City of

Chicago,      651   F.3d   684,   689-90,     697   (7th   Cir.    2011)

(firearm rights); Islamic Ctr. of Miss., Inc. v. City of

Starkville, 840 F.2d 293, 298-99 (5th Cir. 1988) (free

exercise).      In fact, the Court of Appeals for the Fifth

Circuit        recently       struck        down       Mississippi’s

staff-privileges requirement because it refused to look

outside the borders of that State when conducting the

undue-burden analysis.        Jackson Women’s Health, --- F.3d

at ----, 2014 WL 3730467 at *8-9.

    This court does not need to resolve the legal issue

of whether to consider out-of state clinics because, even

if this court were to consider those clinics, it would

reach   the    same   conclusion.       The    out-of-state       clinic

nearest to any of the three cities at issue in this case

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is in Pensacola, Florida, approximately 50 miles away

from     Mobile.        The     Columbus,     Georgia      clinic     is

approximately 80 miles away from Montgomery.                A woman in

Mobile traveling to Pensacola or in Montgomery traveling

to     Columbus    would      still   face   the    same     threshold

difficulties related to losing an abortion clinic in her

home    city;     she   would    still    have     to   overcome     the

challenges of the first 50 miles.                  Furthermore, the

record does not support the conclusion that the Pensacola

and Columbus clinics could actually accommodate an influx

of patients from Alabama, and, in fact, the evidence from

the Huntsville and Tuscaloosa clinics, discussed below,

shows that it is not always easy for a clinic to increase

capacity and suggests that the out-of-state clinics may

not be able to treat large numbers of new women from

Alabama

       Finally, in pointing to the Pensacola and Columbus

clinics to support its case, the State is inviting this

court to look only east and south.           But if the court were

to look outside Alabama’s borders, it would have to look

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west as well.         Looking west, it is clear that similar

laws to the one at issue here threaten to close clinics

throughout the region.          See, eg. Jackson Women’s Health

Organization v. Currier, 940 F. Supp. 2d 416, 418 (S.D.

Miss. 2013), aff’d, --- F.3d ----, 2014 WL 3730467 (5th

Cir.    2014).    Again, the court reaches no conclusions on

these matters, but hastens to point out that an out-of-

state analysis is both much more complicated than the

State suggests and potentially harmful, on balance, to

the State’s case.

       For all of these reasons, it would be unwise to jump

to conclusions about the curative effect of Pensacola’s

and Columbus’s clinics on this thin record.



                  v. Women Who Already Travel

       Even those women who already travel from other cities

in order to procure an abortion would face some of the

challenges       of   additional       distance,     whether      those

challenges would manifest in additional time away from

home,     additional     cost    to    reach    another     city,     or

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additional distance to drive.           However, in light of the

burdens that would be imposed on women who live in cities

that would be left without an abortion provider as a

result    of   the   staff-privileges        requirement      and    the

challenges, discussed below, that would be imposed by

reduced capacity to perform abortions in the State, the

travel-related burdens that would be faced by these women

do not affect the court’s calculus.



                           (b) Capacity

    Apart from the difficulties faced by an individual

woman who must travel to Huntsville or Tuscaloosa, rather

than obtaining an abortion in Montgomery, Birmingham, or

Mobile,   the    staff-privileges        requirement      would     also

dramatically reduce the total capacity of providers to

offer abortions in the State.          See Strange, --- F. Supp.

2d at ----, 2014 WL 1320158 at *14 (court should consider

“the availability of abortion services, both prior to and

under the challenged regulation”).



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     The Tuscaloosa and Huntsville clinics provided 4,954

of the 9,009 abortions performed in the State in 2012.

Donald Aff., PX 20 ¶¶ 4-5.         If the three other clinics in

the State were to close, as a result of the staff-

privileges requirement, a large proportion of the women

who would have gone to those clinics would instead have

to   seek   abortion    appointments      at   the    Tuscaloosa     and

Huntsville    clinics.     Huntsville      administrator       Johnson

testified credibly that his clinic would not be able to

accommodate additional patients.            In part, the capacity

constraint arises because Dr. A would no longer be able

to work at the Huntsville clinic if the staff-privileges

requirement were to go into effect.                  Because of this

supply-side    constraint,      there     would    simply    be    fewer

abortions performed in the State than there would be

women who would otherwise seek to obtain them.                    When a

woman would call the Huntsville or Tuscaloosa clinic,

whether from those cities or anywhere else in the State,

it would be less likely that she could obtain a prompt

appointment.     It is likely that she would have to make an

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appointment further into the future, if the clinic even

had capacity to treat her before her pregnancy reached 20

weeks, the statutory maximum gestational age. Therefore,

there are significant risks that this capacity constraint

would prevent some women and harmfully delay other women

from obtaining abortions.

     Nor can the court take the continued operation of the

Huntsville and Tuscaloosa clinics for granted.                 As of the

time of the trial, Huntsville administrator Johnson was

still awaiting approval of architectural plans that would

bring      his   clinic   into   compliance      with    unchallenged

portions of the Women’s Health and Safety Act.                   If the

Department of Public Health does not approve the plans,

his clinic will shut down.         The doctor at the Tuscaloosa

clinic has been practicing medicine since at least 1969,

and is unlikely to continue practicing for very much

longer.     After he stops providing abortions, there are no

current plans for keeping that clinic open.                Therefore,

if   the    staff-privileges     requirement      were    to    go   into

effect, there is a substantial likelihood that Alabama

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would be left in the foreseeable future without a single

abortion        clinic       due,    in      large     part,     to     the

staff-privileges            requirement.       Cf.     Jackson    Women’s

Health, --- F.3d at ---, 2014 WL 3730467 at *10 (holding

that        Mississippi’s      staff-privileges        law     could    not

constitutionally be applied to close the only abortion

clinic in the State).



                      (c) Unsupervised Abortions

       As     already       shown,   by     imposing     travel-related

obstacles       and     a   statewide      capacity    constraint,      the

staff-privileges requirement would make it significantly

more difficult to obtain an abortion in Alabama.                       This

difficulty also creates a greater risk that women would

attempt to obtain an abortion illegally, without medical

supervision.       See Strange, --- F. Supp. 2d at ----, 2014

WL 1320158 at *14 (“Given proper proof, a court might

also consider the likelihood that women will seek illegal

abortions        because       of    the      regulation,        and    the

corresponding dangers to life and health.”).                       Dr. P1

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testified       that   she    has    already       begun    to    see    a    few

patients a month who had attempted to self-abort using

illegally obtained medications, because the medications

were less expensive than a supervised abortion.

       This     risk     is   particularly          grave       because,        as

plaintiffs’ expert Dr. Fine testified, there are websites

that      illegally           sell        misoprostol            and         other

abortion-inducing drugs.              Of course, there are serious

dangers for women who take unknown drugs which advertise

themselves to be abortion-inducing, but which may not

actually contain what is listed on the label.                          Even for

those women who actually receive misoprostol, a woman who

takes it without consultation with a medical professional

and without the prior mifepristone pill faces increased

risks of hemorrhaging and infection.

       At the worst, there is a danger that women would

attempt       surgical    abortions       on     themselves.           Dr.    Fine

described       how    patients      he    saw    when     he    was    in    his

residency in the early 1970's “either got a botched

back-alley abortion by some untrained person or they

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actually put a coat hanger up inside of themselves.”                 Tr.

at III-85:9-11.         He further described the dangers posed

by these illegal abortions: patients suffered “severe

infections,” including “gangrene of the uterus,” and some

even     died.     Id.     at   III-85:11-12.         Recalling      his

experiences treating those women, he testified: “I will

never forget the look in the eye of these women who are

scared     and   frightened     and    desperate      to   end     their

pregnancy.”      Id. at III-85:14-16.



                        3. Summary of Effects

       In summary, for all of the above reasons, the court

finds that the staff-privileges requirement would have

the     effect    of     eliminating      abortion      services      in

Montgomery, Birmingham, and Mobile.            The loss of abortion

services in those cities would prevent some women who

live there from obtaining abortions and delay others’

abortions.        The     increased    distances      would      present

financial difficulties and psychological obstacles for

women who could previously obtain an abortion in their

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own cities, as well as costing unnecessary additional

time      and    causing        women     to     forgo     their      medical

confidentiality.          For all Alabama women who might seek an

abortion, the closures would present obstacles related to

reduced capacity, namely delay and outright inability to

secure abortion services.               Each of these obstacles would

be compounded by the threat that women who desperately

seek to exercise their ability to decide whether to have

a    child      would    take     unsafe       measures    to   end     their

pregnancies.

       Therefore, the court is firmly convinced that the

staff-privileges          requirement         would    impose   severe     and

even, for some women, insurmountable obstacles on women

seeking abortions in the State of Alabama.



                           B. Justifications

       The   court      will    now   analyze     the    strength     of   the

State’s         justifications          for      the      staff-privileges

requirement.         “[I]n order to evaluate the weight of the

state interest involved in a particular case, it is not

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enough simply to note that the State has invoked one of

these legitimate interests.          Rather, the court must look

to case-specific factors.”          Strange, --- F. Supp. 2d at

----, 2014 WL 1320158 at *15.          These factors include “the

extent of the anticipated benefit,” “the likelihood of

the   anticipated      benefit,”       “the   means    a   regulation

employs,” and “the political history and context of the

regulation.”     Id. at *15-*16.

      The   State     puts      forward       two     categories      of

justifications for the staff-privileges requirement. The

primary justification is that the requirement furthers

‘continuity of care’ by improving care for women who

experience complications and fostering improved follow-up

care in general.         Secondarily, the State argues that

staff privileges serve a credentialing function, both as

an initial screening mechanism and by providing ongoing

review of physician quality.           The court will now examine

these justifications.




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                       1. Continuity of Care

      Continuity of care is the goal of ensuring that a

patient receives high-quality care not only during a

certain procedure but also after it, including treatment

of complications and any necessary follow-up care.                While

the    parties       and   witnesses       offered     a     number    of

formulations for what exactly the term ‘continuity of

care’ means, it was clear from the trial that this is a

somewhat elusive concept.

      However, there emerged three models for ensuring

continuity of care in the abortion context.                 In order to

evaluate these three models, the court will review the

general nature, frequency, and treatment of complications

from early-term abortion.             The court will also examine

the   current     regulatory     framework      as    it    relates    to

continuity      of     care,    as     well   as     the    Montgomery,

Birmingham,      and   Mobile    clinics’     actual       treatment   of

complications.

      For the reasons described below, the court finds that

there is a range of disagreement within the medical

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community regarding the appropriate model of complication

care for minor surgeries and medication-based procedures

like early-term abortion.            However, the model that the

State puts forward, which is the one reflected in the

staff-privileges requirement, falls outside that range of

disagreement.           Cf.   Gonzales,       550     U.S.     at     163-67

(upholding an abortion regulation where it fell within

the range of opinion in the medical community).                     Finally,

the staff-privileges requirement would have the practical

effect of undermining the patient-care goals put forward

by the State.



       (a) “Safer than Getting a Shot of Penicillin”

       In order to understand proper care for abortion

complications, it is first necessary to recognize how

vanishingly      rare    it   is    for   women      to    have      serious

complications from early-term abortions, like the ones

performed   at    the    three     clinics.         Complications       that

require hospitalization occur in only 0.05 to 0.3 % of

such    abortions.        Furthermore,        rates       of   death    from

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abortion are incredibly low.            According to the Centers

for Disease Control and Prevention, between 2004 and

2008,   the    mortality       rate    from     abortions      at    all

gestational ages was 6.4 deaths per million abortion

performed; in light of the more dangerous nature of

later-term abortions, it appears that the mortality rate

for early-term abortions is even lower.             According to Dr.

Fine, the procedure is therefore “[s]afer than getting a

shot of penicillin.”             Tr. at III-20:21.          While the

court need not adopt this characterization, the point is

well-taken that the penicillin is more than two to three

times more likely to kill a patient than an early-term

abortion.       In    short,     the    evidence     in    this     case

demonstrates         that      early-term          abortions         are

extraordinarily safe.



          (b) Three Models of Continuity of Care

    As with any medical procedure, though, there is some

possibility of complications, even serious complications.

No one disputes that, in those rare circumstances, the

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patient deserves high-quality care.                  The court heard

three approaches to providing such high-quality care for

complications        from     early-term    abortions     and   similar

procedures.

       The first model was presented by Dr. Fine, who stated

that    the    Montgomery,      Birmingham,    and    Mobile    clinics

actually       go    beyond    what    is    necessary    to    provide

continuity      of    care.      According    to   him,   the   key   to

continuity of care in this context is 24-hour telephone

access.    A woman can call a clinic’s telephone number and

be assessed by a doctor or nurse at any time.                      That

doctor    or    nurse    may    give     instructions     for   in-home

treatment, such as to take extra-strength Tylenol, or may

schedule the woman for a follow-up visit at the clinic.

If the medical professional determines that it would be

appropriate for the woman to be immediately assessed or

treated, she will be directed to the nearest emergency

room.    Doctors at such facilities are trained to provide

care for all abortion complications.                  Dr. Fine also

acknowledged that, in rare circumstances, a patient may

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need to be transferred directly to a hospital from the

clinic      during    the   course       of    an    abortion.       In    that

situation, the abortion doctor should communicate with

the emergency-room doctor.                   According to Dr. Fine, a

clinic that takes these steps has provided continuity of

care.

      The    second    model,      the       covering-physician         model,

essentially reflects the current regulations governing

abortion clinics in Alabama.                    The model was largely

presented by the State’s expert, Dr. Geoffrey Keyes, and

has   been    adopted       by   his     organization,         the   American

Association for the Accreditation of Ambulatory Surgical

Facilities (“the Surgical Association”).                       The Surgical

Association      certifies        centers        that      perform    various

outpatient       surgeries,            including        many     that      are

significantly more dangerous than early-term abortions.

In order for a facility to receive certification, the

Association     requires         either       that   all   doctors    at    the

facility have staff privileges at a local hospital or

that the facility maintain “a signed and dated document

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from a person in the same specialty who has admitting

privileges in a [local] hospital ... that indicates their

willingness    to    admit    the    patient     to    the    hospital.”

Surgical      Association         Standards,      PX     70     at     73

(§ 800.010.025).18

      As an example, Dr. Keyes maintains practices in Los

Angeles     and     Bakersfield,         California,         which    are

approximately       120   miles     apart.       When    he     performs

procedures    in    Bakersfield,         he   stays    overnight,     but

arranges with a local doctor to provide follow-up care

for   any   complications      which     may   arise    after    he   has

returned to Los Angeles.          Dr. Keyes stated, however, that

in an urgent situation, it is more important for a

patient to go to the nearest emergency room than that she

be treated by the initial doctor or a covering physician.




    18. The federal government imposes a similar
requirement for ambulatory surgical centers that seek
reimbursement from programs such as Medicare and
Medicaid. If not all of the doctors at a center have
staff privileges, the center must have a written transfer
agreement   with   a   local   hospital.      42   C.F.R.
§ 416.41(b)(3).

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    Finally, the State presented a third approach to

complication care.       Under this approach, which the court

will call the ‘country-doctor’ model, the physician who

performs the initial procedure would consistently provide

most care for complications that may arise, rather than

relying on a covering physician, a transfer agreement, or

the emergency room.           While a specialist may need to

become involved for certain treatments, the original

doctor   would     handle     nearly     all     of   his    patient’s

complications.     The State emphasized a sense that quality

care depends on a traditional, personal, and ongoing

relationship      between     doctor      and    patient.         Staff

privileges at a local hospital, and implicitly local

residence, would be necessary for such care.                Dr. Thorp,

the State’s expert, was the strongest voice for this

country-doctor approach at trial.

    The provision at issue in this case, requiring all

abortion providers to have local staff privileges, goes

beyond   either    of   the    other    two     models   and   instead

reflects the country-doctor approach.

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                 (c) Nature and Treatment of
                    Abortion Complications

    To assess these three models, the court will first

explain the nature of complications from the early-term

abortions performed at the Montgomery, Birmingham, and

Mobile clinics.        Most complications from such abortions

closely   resemble      the    complications       from    early-term

miscarriages.            The     common       complications        from

miscarriages,     as    well   as    medication      and   early-term

surgical abortions, are bleeding, infection, and cramps.

These complications sometimes arise because fetal tissue

remains in the uterus or because the cervix fails to

close fully after the fetal tissue is expelled.                      The

treatment for these complications is the same, regardless

of how the pregnancy ended.

    In extremely rare instances, other complications may

arise which could not occur from a miscarriage.                  In the

case of a medication abortion, an allergic reaction to

the abortion drugs was the only possibility suggested by

the evidence in this case.          For a surgical abortion, it


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is possible that an instrument may perforate or lacerate

the uterus.

       Most complications from early-term abortions do not

require hospital treatment.                Most minor complications

which arise during the course of an early-term surgical

abortion are treated at the abortion clinic before the

patient is discharged.             Moreover, as discussed above,

most complications that arise after a patient has been

discharged     are     best        treated        with   over-the-phone

instructions, prescription medication from a pharmacy, or

a follow-up visit to the abortion clinic.                 However, even

when    hospital     care     is    unnecessary,         patients    will

sometimes seek emergency-room treatment without first

contacting the provider.           Indeed, in some such cases, the

woman may not be suffering from any complication at all,

but may simply need reassurance.

       For the majority of complications which do require

hospitalization, the appropriate treatment may include

intravenous     antibiotics         or    a   further     dilation    and

curettage     to     empty    the        uterus    completely.       The

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staff-privileges provision requires all abortion doctors

to have local-hospital privileges that allow them to

perform     two      specific,        additional       gynecological

procedures:       hysterectomy       and     laparotomy.           Rare

circumstances, such as a suspected uterine perforation,

may require a laparotomy or the similar but less invasive

laparoscopy, each of which involves examining the uterus

or cervix and repairing any damage.                In certain other

extreme situations, a hysterectomy, or removal of the

uterus, may be necessary.            It is extremely rare that

either hysterectomy or laparotomy would be necessary

following    an   abortion,       even   a   later-term      abortion.

Indeed, with approximately 9,000 abortions performed in

Alabama each year, in most years not a single early-term

abortion in the State would require either procedure.



         (d) Current Continuity-of-Care Regulations

    As    noted   above,    the    current    Alabama     regulations

governing     abortion      clinics      resemble      the    Surgical

Association approach.          Each clinic is required under

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current      law    to    ensure,       before     a    woman     obtains     an

abortion, that a doctor who can admit her to a local

hospital       will      be    available      if       necessary.           This

requirement can be satisfied by a written contract with

a      “covering         physician.”               Ala.         Admin.      Code

§ 420-5-1-.03(6)(b).               The covering physician is required

to have staff privileges that permit her to perform

“dilation          and    curettage,         laparotomy           procedures,

hysterectomy, and any other procedures necessary to treat

abortion-related complications” at a hospital within the

same     metropolitan         statistical     area       as     the    clinic.19

§    420-5-1-.03(6)(b)(4).               A   clinic      may     not     provide

abortions       unless        an    affiliated         doctor     with     staff

privileges will be available for 72 hours after the

procedure to treat any complications that may arise.

§     420-5-1-.03(6)(b)(5);            (6)(c).           Furthermore,        the




    19. These are the same procedures which the
staff-privileges requirement at issue in this case would
require every doctor providing an abortion to have staff
privileges to perform, not just the covering physician.

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regulations require certain communications to facilitate

continuity of care.          § 420-5-1-.03(1).

     The State’s Chief Medical Officer, defendant Dr.

Donald E. Williamson, testified that the Department of

Public Health believed, prior to the enactment of the

Women’s   Health    and      Safety   Act,    that   the   preexisting

regulations     “did    an    adequate       and   effective    job   of

protecting the public health.”           Williamson Dep. at 40:4-

6.   The Department of Public Health had authority, prior

to the enactment of the staff-privileges requirement, to

impose the requirement on doctors, but decided such a

requirement was unnecessary.            See id. at 40:6-8 (“If we

had felt that something else was essential, we would have

undertaken to do something else.”).

     In fact, the Department was consulted by a drafter of

another bill, a predecessor to the Women’s Health and

Safety Act.        That bill was less demanding than the

statute that was eventually enacted.                 The prior bill

would have required only that at least one doctor with

local staff privileges be present at the clinic until the

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last patient leaves, compared to the enacted requirement

that     every     doctor    performing       abortions        have        staff

privileges.        The Department of Public Health requested

that even this staff-privileges requirement be removed

from the prior bill, and suggested that a codification of

the existing covering-physician regulation would be more

appropriate.



                 (e) Complications and Continuity
                        of Care in Practice

       The   court    now    turns       to   a   description         of     the

Birmingham,        Mobile,    and    Montgomery         clinics’       actual

protocols     for    treatment      of    complications.         As        shown

below,       the     protocols       are      consistent        with         the

covering-physician          model    advocated     by    Dr.    Keyes        and

exceed the model put forward by Dr. Fine.                          However,

because none of the doctors who perform abortions at

these clinics has local staff privileges, they do not

satisfy the State’s country-doctor model of continuity of

care.


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       In Birmingham and Mobile, most complication care is

provided at the clinic itself by the doctor who provided

the abortion, either before a patient is discharged or at

a follow up visit.          Although Dr. Roe has never, in ten

years    of   providing     abortions,     needed    to   transfer        a

patient directly to the hospital during a procedure, she

described      the   protocols     she    would     use   in   such       a

situation.      She would assess and stabilize the patient,

while clinic staff secure an ambulance.              Then, she would

ensure that the medical records were complete and send a

copy of the patient’s medical records with the ambulance

staff.       Finally, she would call the emergency room to

ensure that the doctors there were prepared for the

patient and “could pick up the care where we ha[d] left

off.”    Tr. at IV-25:21-22.

       As for complications that arise after the patient has

left the clinic, a patient can call the 24-hour telephone

line to reach a nurse.           If the complication is minor,

such    as    pain   from    cramping,    the     nurse   will    offer

home-care instructions after consulting with the doctor

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who provided the abortion.                  For a more serious, but

non-urgent, complication, the clinic will schedule a

follow-up appointment, so the physician who performed the

abortion            can        provide         complication              care.

Medication-abortion patients are automatically scheduled

for    a     follow-up        appointment,       and    surgical-abortion

patients       have    the     option     of    such        an   appointment.

However, if a patient is experiencing complications that

may require urgent care, the doctor will instruct her to

go to the nearest emergency room.

       To put the State’s staff-privileges requirement in

context, it is helpful to consider these clinics’ actual

history with complications and how the staff-privileges

requirement might alter the provision of follow-up care.

From    2010    through       September     2013,      to    the   Birmingham

clinic’s knowledge, only 13 of its abortion patients, of

an    estimated       5,000,     obtained      care    related      to   their

abortions at a hospital.20              Of those patients, none was a


       20.    The     court     bases    these     analyses of clinic
                                                         (continued...)

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direct transfer from the clinic to the hospital.                   Only

five of the 13 contacted the Birmingham clinic before

seeking hospital treatment.21          One of those five was not

treated by an emergency room, but rather was a woman

whose   medication      abortion       had   not    terminated       her

pregnancy.    She decided to carry the pregnancy to term,

and the clinic referred her to an OB/GYN at the hospital.

    Only in the four remaining cases does the State’s

continuity-of-care justification for the staff-privileges



    20.(...continued)
complications on reports which were admitted into
evidence.   See DX 14, 19, and 20.    The date ranges
reflect the complication reports that were produced in
evidence, and the total patient numbers per clinic
reflect the court’s own estimations.

    One of the reported Birmingham-clinic complications
came to the clinic’s attention via a news article, but
was unverified. It is possible that this complication
actually arose from an abortion performed at another
Birmingham clinic, which has since closed.

    21. During closing arguments, the State argued for
the first time that the staff-privileges requirement may
lead women to seek treatment at the abortion clinic,
where they would otherwise have gone to an emergency room
and hidden the cause of the complications.       However,
there was no credible evidence in the record to support
this inference.

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requirement even potentially come into play.                     In one

case, the clinic’s covering physician met the patient at

the   emergency     room   and   successfully      treated     her    for

retained tissue from a medication abortion.               That leaves

three instances, over three years and nine months, in

which the Birmingham clinic directed a patient to seek

emergency-room treatment without involving the covering

physician.     One patient had a 99-degree fever; another

had cramps; and the third said that she was in pain

despite pain medication.            All three were treated and

discharged from the emergency room.

      During the same time period, to the Mobile clinic’s

knowledge,    ten    of    its   abortion   patients,      out   of    an

estimated 3,500, sought care related to their abortions

at a hospital.       Eight of those patients did not notify

the clinic of their complications before seeking hospital

treatment.     Of the two remaining patients, one was a

direct transfer from the clinic, but that patient was not

actually experiencing a complication.             Rather, she found

the procedure to be too uncomfortable without sedation

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and   was   transferred       to    the   hospital   for      monitoring

because she had already been administered misoprostol to

widen her cervix.       Only one patient was directed to the

emergency      room     for     a    complication        during       this

three-year-and-nine-month period.            In only this one case

would the State’s continuity-of-care justification be

relevant.     She had received a medication abortion but had

missed her scheduled follow-up appointment.                    When she

called and reported clots and heavy bleeding, the clinic

referred her to the emergency room, where she was treated

and discharged.

      From 2010 through 2013, to the Montgomery clinic’s

knowledge, three of its abortion patients, out of an

estimated     2,900,    received      hospital    care     for    issues

arising from an abortion.            Of these three patients, one

presented at the emergency room without first calling the

clinic,     leading    the    attending    physician     to    call    the

clinic for more information about the abortion procedure.

In response, the clinic sent its covering physician to

treat the patient.            Indeed, all three patients were

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treated by the clinic’s covering physician, pursuant to

its current policies.

    The    court     notes    that     the    Montgomery       clinic’s

procedures were not always this robust, and in fact the

clinic’s current policies were put into place after the

clinic had its license suspended arising out of a 2006

incident    concerning       complication      care.       A    patient

presented at the hospital with complications from an

abortion obtained at the Montgomery clinic.                    When the

gynecologist at the hospital attempted to speak with the

doctor who had performed the abortion, he was apparently

unable to, and he later filed a complaint with the

Department of Public Health.22

    The    investigation       of    that    incident     revealed        a

somewhat different problem: the clinic did not have an


    22. The reporting doctor testified in this litigation
that the clinic staff displayed a troubling lack of
concern for the patient’s care. However, his version of
events is disputed, with the clinic offering conflicting
evidence.    The record is insufficient to support a
conclusion one way or the other as to what actually
happened during the 2006 incident, and the resolution of
that issue is not material to the outcome of this case.

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operational covering-physician agreement in place, as

required by state regulations.           The Department of Public

Health therefore suspended the clinic’s license.                 Before

its license could be reinstated, the clinic had to secure

a written agreement with a new covering physician and

revise its complication-care policies.              The clinic also

sent a letter to all area emergency rooms, so that the

emergency-room doctors easily could reach out to the

clinic if a patient presented at the hospital without

first contacting the clinic.           With the curative measures

taken after the 2006 incident, it is clear that the

Montgomery clinic actively has, since then, involved its

covering     physician      in     the     rare     occasions      that

complications occur.

    In light of the safety of abortions, the rarity of

serious complications, and the robust regulation and

oversight of clinics in Alabama, the court is firmly

convinced that the Birmingham, Mobile, and Montgomery

clinics currently have strong complication-care policies



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in    place      and,    when    complications          have    arisen,       they

provided quality care to their patients.



                        (f) Dr. Roe’s ‘Admission’

       At   trial,       the    State        repeatedly        emphasized       an

admission elicited from Dr. Roe, the medical director of

the    Birmingham        and    Mobile        clinics    and     the    primary

abortion provider at the Birmingham clinic.                          The State

relied      on   her    eventual       agreement    with       the   following

statement: “So your own protocol is inconsistent with the

rules of the Alabama Department of Public Health in this

instance.”        Tr. at IV-122:8-9.            Indeed, again and again

the    State      returned      to     her    concession,       asking    other

witnesses about it and arguing the point at closing.

See, e.g., id. at V-48:22-25 (State representing during

cross-examination of plaintiffs’ statistics expert that

Roe    “testified        that    she    has    allowed     the    Mobile       and

Birmingham clinics to operate in violation of Department

of Public Health rules”).               Clearly, in the State’s view,

this    concession       is     an   important     indication          that    the

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existing policies and regulations do not provide for

continuity      of    care,      and     that,     therefore,        the

staff-privileges      requirement      is   needed.       However,        a

careful review of Dr. Roe’s actual testimony and the

regulation at issue reveals that the clinics do, in fact,

provide high-quality complication care and comply with

state regulations.        Her concession to the contrary was

the result of confusion, in large part attributable to

the misleading questions posed by the State’s attorney.

    The court finds that there is no violation of the

applicable regulation.         That regulation provides that,

“In order to facilitate continuity of patient care, the

[abortion] physician shall contact and communicate with

any physician rendering care for complications arising

from the abortion as soon as he [or she] is informed of

the existence of such complications.”              Ala. Admin. Code

§ 420-5-1-.03(1) (emphasis added, second alteration in

original).     As the State insists, the regulation does

require communication.         However, that communication is

required only once the abortion doctor “is informed of

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the existence of ... complications.”              Id.; see also Tr.

at IV-121:23-24 (State asking, without qualifications,

““Q. Does it not say that the facility physician shall

contact and communicate with any physician rendering

care?”); id. at IV-121:12-15 (same, without reference to

the abortion doctor being informed of the existence of

complications).

    But    Dr.   Roe’s   testimony      made   clear    that,    as   to

“[m]ost of the patients” who call the after-hours line,

there is no known complication.          Id. at IV-120:16-17.         As

a precaution, the clinic will sometimes instruct those

women to go to the emergency room “so that the emergency

room physician can evaluate the patient physically and in

person.”   Id. at IV-120:13-15.         This is done precisely so

that an emergency-room doctor, who is available at all

times, day or night, “can assess whether there is such a

complication.” Id. at IV-120:15-16 (emphasis added); see

also id. at IV-120:19-20 (“And so the assessment as to

whether there is a complication is done by the emergency

room physician.”); id. at IV-120:24-121:1 (“the emergency

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room physician will be able to evaluate the patient and

assess exactly what is going on with the patient”).

    At that point, the clinic doctor does not know that

the patient is actually experiencing a complication.

Indeed,   often    patients     simply     “need    reassurance”      or

additional     “pain    management,”       id.     at   IV-120:16-19,

neither   of    which    constitutes       a     complication.        In

contrast, if a direct patient transfer from the clinic to

the emergency room is required, the doctor knows there is

a complication, and the clinic protocols accordingly

mandate that the doctor call the emergency room, as the

regulation requires.

    Furthermore, clinic protocols are reviewed annually

by the Department of Public Health, and these clinics’

protocols have been approved by the Department.                      The

Department’s failure to raise the supposed ‘flaw’ in

those protocols, as identified by the State, further

reflects that, in fact, no such flaw exists.                 Thus, the

court concludes that the approach to complication care at



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the Birmingham and Mobile clinics is consistent with

state regulations.

      The State’s attorney did, indeed, elicit a concession

from Dr. Roe to the contrary.                  After watching that

testimony, the court finds, as a matter of fact, that she

was confused by the questions, which left the distinct,

but incorrect, impression that the regulation always

requires a call to the emergency room, including not only

when there is a known complication but also when the

woman is sent for assessment for possible complications.

See Tr. at IV-120 to IV-122.                The court further finds

that Dr. Roe was, in the end, ‘worn down.’ Perhaps this

was because she deferred to counsel’s representations

about the legal meaning of the State regulation.                     See,

e.g., id. at IV-121:5-6 (Counsel representing that “these

rules require such a contact” between the abortion doctor

and       emergency   room,     without     specifying       any   ‘known

complication’ qualification). Needless to say, while she

is    a    medical    expert,   Dr.   Roe    is   not   an    expert   on



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regulatory interpretation.             The court thus finds the

State’s reliance on her ‘admission’ unpersuasive.23



              (g) What is ‘Continuity of Care’?

    The court finds, again, that the complication-care

practices    of   the   Birmingham,      Mobile,     and   Montgomery

clinics are consistent with existing state regulations.

They are also consistent with the covering-physician

model for continuity of care and exceed Dr. Fine’s model.

However, the State is correct in suggesting that the

clinics’ practices would not satisfy its country-doctor

model.      The court will therefore return to the core

question: Is that model within the range of reasonable

medical opinion?




    23. The State also relied on Dr. Roe’s testimony to
suggest that the Birmingham and Mobile clinics do not use
their covering physicians often enough to satisfy the
intent of the regulations. However, the actual records
of complications reveal that the clinics do not make
frequent use of their covering physicians because the
procedures they perform are extremely safe and because,
where   possible,   the   clinics   themselves    provide
complication care.

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      From Dr. Fine’s perspective, access to medical advice

from the original provider, with the availability of

trained emergency doctors, is sufficient continuity of

care for a low-risk surgery such as early-term surgical

abortion and the administration of pills involved in

medication abortion.          According to Dr. Keyes and the

Surgical Association, telephone access is insufficient,

and it is important to have at least a preexisting

relationship with a covering physician to provide for

complication      care.        Finally,       under     the    State’s

‘country-doctor’ approach, the physician who performed

the original procedure treats nearly all complications.

While the covering-physician approach is required by

pre-existing       Alabama       law,      the     staff-privileges

requirement reflects the third approach.

      The key to all three of these models is ensuring that

a doctor who treats a complication has enough information

about the initial procedure to make wise choices about

the   patient’s    care.       As    discussed     above,     abortion

complications are extremely rare, and, for the majority

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of complications from early-term abortions, there is no

information     about    the   abortion     procedure     that    would

change the appropriate course of treatment.              Instead, the

treatment is the same as the treatment for the common

emergency-room          presentation        of     an      early-term

miscarriage.      However, there are rare circumstances in

which information would be beneficial, for example in the

case of a uterine perforation or an allergic reaction to

medication.24

    The court therefore finds that the country-doctor

approach, while carrying an intuitive appeal, does not

reflect the practice of 21st century medicine, as it

relates to simple, low-risk surgeries and medication

administrations.        A large number of complications and


    24. Drs. Thorp and Anderson each opined that proper
care for even the simplest complication would require
detailed   knowledge   about  the   patient’s  history,
reproductive goals, and other information. However, the
court discredits Dr. Anderson’s testimony on this point
due to concerns about his judgment or honesty as
described in the forthcoming supplemental opinion. The
court discredits Dr. Thorp’s opinion on this point
because it is inconsistent with his own practice, as
described below.

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patient concerns arising from abortion do not require

in-person    medical    treatment.         Sometimes     the   patient

requires only reassurance, and many other times a medical

professional     can   provide     home-care     instructions,       for

example, that the patient should take extra-strength

Tylenol.    Where there is a possibility of a more serious

complication, it is more important that the patient be

assessed quickly than that she be seen by her original

doctor.     As even the State’s own expert, Dr. Anderson,

admitted: “[I]f she’s unstable or she’s scared to death,

she should go to the closest emergency room. ... She can

call her abortion provider ... as an intermediary step.”

Tr. at VI-55:19-20.25

    In fact, the behavior of the strongest proponent at

trial of the country-doctor approach illustrates why that




    25. Although the court discredits nearly all of Dr.
Anderson’s testimony, the court credits this statement
for two reasons: first, the fact that it undermines the
case for the Alabama legislation negates the court’s
concern that bias colored his conclusions and second, the
statement is entirely consistent with all the other
credible evidence presented on this issue.

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approach    is   out       of   touch     with     contemporary     medical

practice.     Dr. Thorp testified that, at his own office,

he   removes     tissue         that      remains       after    early-term

miscarriages, presumably using the dilation and curettage

method,     which     is    identical         to   early-term      surgical

abortion.        He    also      puts        patients    under    conscious

sedation,     exposing          them     to    significant       risk   from

anesthesia, and performs other procedures which carry

risks of serious complications.                  But Dr. Thorp does not

maintain staff privileges at any hospitals.                      It is not

clear whether Dr. Thorp, in practice, ascribes to Dr.

Fine’s     approach        or    to     the    Surgical      Association’s

covering-physician approach.                  But it is clear that Dr.

Thorp has refused to adopt the State’s country-doctor

approach in his own practice.

     Therefore, while there does seem to be some medical

disagreement about whether Dr. Fine’s model is sufficient

or, rather, whether a covering physician is necessary to

provide      high-quality              continuity       of      care,    the

‘country-doctor’ model does not fall within this range of

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reasonable medical disagreement.                 No credible evidence

supports the State’s contention that continuity of care

requires adopting that model.

    As      a     final     note     on    the     continuity-of-care

justification,         the      court       observes        that      the

staff-privileges requirement would, in reality, do more

to inhibit continuity of care than to promote it.                   Women

in Montgomery, Birmingham, and Mobile who currently go to

their local clinic to obtain an abortion are able to

return to that clinic for a scheduled or spontaneous

follow-up, and a covering physician is available, if

needed.     However, if this law were to go into effect, a

woman in one of those three cities would have to travel

to Tuscaloosa, Huntsville, or out of state to obtain an

abortion.       If she experienced a complication, which would

be most likely to occur only after she returned home, she

would have to seek treatment close to her home.                   Neither

the doctor who performed the abortion nor the clinic’s

covering        physician    would    be   likely     to   have    staff

privileges at any hospital near her home.                  Furthermore,

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in light of the challenges that many women face in

traveling      outside     their   home       cities     to     secure      an

abortion, she would almost certainly be more likely to

miss a scheduled follow-up visit.

    In summary, with regard to the continuity-of-care

justification, the court makes several findings.                      First,

complications       from     early-term       abortion    that       require

hospital       treatment     are   extremely      rare        and    doctors

associated with emergency rooms are well-equipped to

treat      all      such     complications.               Second,           the

staff-privileges requirement falls outside the range of

standard medical practice for complication care for this

kind of simple and extremely safe procedure, as reflected

by standards and behavior of the State’s own experts.

Third, the plaintiffs’ clinics have a good recent track

record    in     providing    patient     care    for    complications.

Finally, the staff-privileges requirement of the Women’s

Health and Safety Act would, in reality, undermine the

State’s    goal    of    continuity      of   care,     since       women   in



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Montgomery, Mobile, and Birmingham would no longer have

local access to the clinic or a covering physician.



                         2. Credentialing

      The   State’s      secondary        justification        for   the

staff-privileges requirement is that privileges serve a

credentialing function.         This function would operate in

two ways: first, the initial credentialing process by

hospitals    would    screen    out      incompetent      or   unethical

doctors, preventing them from ever performing abortions

within the State; and, second, the hospital’s oversight

and   ability    to    terminate         or   non-renew    a    doctor’s

privileges would be an effective deterrent and corrective

measure against poor-quality care.



                      (a) Initial Screening

      The initial-screening aspect of the credentialing

function provides negligible benefit, as compared to

preexisting law.      Furthermore, it is clear that the four

out-of-state     doctors     who      perform    abortions      at   the

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Birmingham, Mobile, and Montgomery clinics are capable of

performing abortions safely.

       The current regulations for abortion clinics require

that the doctors be credentialed in one of three ways:

             “(i) Certification from an accredited
             residency or fellowship program in the
             United States that the physician has
             been trained to perform abortions and
             manage and recognize complications;

             “(ii) Certification from an accredited
             hospital in the United States that the
             physician's staff privileges include
             performing abortions; [or]

             “(iii) Verification from a properly
             trained disinterested physician that the
             disinterested physician has had direct
             observation of the physician's clinical
             skill in performing both medical and
             surgical abortions at a range of
             gestational ages and finds them to be
             satisfactory and within the standard of
             care.”

Ala. Admin. Code § 420-5-1-.02(d)(3).                 Furthermore, the

doctor’s ability to perform abortions safely is certified

on an annual basis, through direct observation of the

physician’s clinical skills by the medical director.

§     420-5-1.02(d)(2).            These     observations        must    be


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documented,      and    the    records         are     reviewed      by    the

Department of Public Health.

    Second, hospitals throughout the country impose a

similar    degree      of   scrutiny      on    doctors      applying      for

privileges.      Indeed, although he described the matter as

outside    his   expertise,        even    the       State’s      expert   Dr.

Anderson agreed: “most hospitals are governed by the

Joint     Commission        [the    main       hospital-accreditation

organization] and have a very rigorous qualification

scrutiny    of   physicians.         So    out-of-state           hospitals’

scrutiny should be somewhat equivalent from one hospital

to another.”      Tr. at VI-21:16-20.26

    Three of the four current doctors hold privileges at

acute-care    hospitals,       although        not    in   Alabama.        The

fourth,    Dr.    A,    held   privileges        for       many    years    at

hospitals in Alabama and elsewhere, before going into


    26. There were some suggestions at trial that
requiring specifically local staff privileges added some
initial screening benefit.     The court finds that no
credible evidence supports this view and that the
initial-screening function is served equally well by
local and non-local staff privileges.

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semi-retirement.       Therefore, the court finds that, to the

extent    that   the    staff-privileges         requirement       would

provide   “rigorous      qualification       scrutiny,”      all   four

doctors have already withstood such scrutiny.27


    27. Some courts have drawn an analogy between the
credentialing function of staff privileges and laws
mandating that only doctors be permitted to provide
abortions. See Abbott I, 734 F.3d at 412. This court is
well aware of the string of cases stretching back to Roe
itself that have specifically approved such ‘doctors
only’ regulations. See Mazurek v. Armstrong, 520 U.S.
968, 974 (1997); Casey, 505 U.S. at 885; City of Akron v.
Akron Center for Reproductive Health, Inc., 462 U.S. 416,
447 (1983), overruled in part on other grounds by Casey,
505 U.S. at 882; Connecticut v. Menillo, 423 U.S. 9, 11
(1975); Roe, 410 U.S. at 165. However, courts should be
wary of drawing too strong an inference from the ‘doctors
only’ cases.     The Supreme Court has offered little
elaboration of its ‘doctors only’ holdings, perhaps
viewing it as self-evident that such restrictions ensure
safety with little harm to access to abortion.        See
Mazurek, 520 U.S. at 974 (“no woman seeking an abortion
would be required by the [doctors only] law to travel to
a different facility than was previously available”).
Yet the Court has struck down other abortion regulations
offered in the name of women’s health, again without
explaining how those regulations differed from ‘doctors
only’ provisions. See Doe 410 U.S. 179. In this court’s
view, the best reading of the ‘doctors only’ cases is as
a unique category: relying first and foremost on the
recognition that “‘the Constitution gives the States
broad latitude to decide that particular functions may be
performed only by licensed professionals.’” Mazurek, 520
                                           (continued...)

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                      (b) Ongoing Peer Review

      The second aspect of the credentialing justification

is more nuanced.        The State argues that the threat of

losing staff privileges would be an effective incentive

for   doctors    to    provide    high-quality       abortion     care.

Relatedly, the State argues that recent adverse licensure

actions against abortion clinics reveal both that clinics

are rife with underlying quality-of-care problems beyond

complication treatment and also that the Department of

Public Health is unable to uncover such problems before

they affect patient care.        In the State’s view, hospitals

and the doctors on credentialing committees would provide

an effective supplement to Department of Public Health

oversight.




    27. (...continued)
U.S. at 973 (quoting Casey, 505 U.S. at 885). The staff-
privileges requirement goes beyond the specific role of
defining the scopes of practice of the medical
professions. Therefore, the court rejects the analogy
between the doctors-only cases and Alabama’s staff-
privileges requirement.

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      In   evaluating     this    aspect     of    the   credentialing

argument, the court first rejects certain opinions of the

plaintiffs’      expert    Dr.    Fine.           He   testified    that

credentialing committees sometimes have little concern

for patient safety and instead make staff-privileges

decisions primarily on economic grounds: which doctor

will perform more procedures at the hospital, reaping

profits for the institution.            On the contrary, the court

heard from representatives of six Alabama hospitals over

the course of the trial, and, based on their testimony,

the court finds that the hospitals make credentialing

decisions primarily to ensure that they and their doctors

provide high-quality care to their patients.

      However, even accepting that hospital credentialing

committees seek to ensure high quality of care from

doctors who have staff privileges, the court finds that

the   evidence    does    not    actually     support      the   State’s

contentions      that    the    Department    of       Public    Health’s

enforcement efforts were ineffective; that problems in

care at abortion clinics stemmed from lack of oversight

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over    doctors;    or   that    the    threat    of   losing      staff

privileges would be particularly effective in preventing

quality-of-care issues.

       The Department of Public Health undertakes two-day

scheduled inspections of all Abortion or Reproductive

Health Centers on an annual basis.                On the first day,

inspectors review clinic policies and records to ensure

compliance with state laws and regulations.                       On the

second day, they inspect the physical premises, talk to

staff, and observe procedures.               Inspectors also make

unannounced visits to ensure that clinics are actually

following appropriate protocols on a day-to-day basis.

Finally, inspectors respond to complaints from patients

and other citizens; in fact, the trial evidence shows

that anti-abortion activists often notify the Department

of clinic activities that they believe violate state law.

       The    evidence   shows   a     history    of   extensive     and

aggressive Department of Public Health enforcement of the

State’s abortion regulations.             The parties stipulated

that    the    Department    revoked     the     licenses    of    three

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now-defunct clinics.        Two of these clinics had failed to

respond to patient calls, and the third clinic’s nurse

had administered a medication abortion to a woman whose

pregnancy was too far advanced for such an abortion to be

safe.

    Similarly, there was significant discussion of recent

problems at the Birmingham clinic.             A nurse there stole

abortion-inducing medication from the clinic and was

caught selling it in the clinic’s parking lot.                       The

clinic responded by terminating all of its on-site clinic

staff and closing the clinic until new staff could be

hired.    When Department of Public Health investigators

went to the clinic for a surprise inspection, they found

the clinic closed.        During the course of the resulting

investigation, the clinic was not initially forthcoming

about    the   reason    for    its    closure,      but   eventually

disclosed the incident with the nurse.                The Department

will not allow the Birmingham clinic to reopen until the

Department approves its plan of corrections.



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       A Department official who investigated this incident

testified that nothing would have been different with

regard to the closure if the doctors had had privileges

at   a   local      hospital.   Nor    did    the   State   offer    any

explanation of how the Birmingham clinic should or could

have handled the incident differently.                   Perhaps most

importantly, the Department of Public Health, with its

surprise inspection, was able to learn of the closure

more quickly than a hospital credentialing committee

could have been expected to.

       The State nonetheless argues that the problem links

back     to   bad    doctors.   However,       after    reviewing    the

Department       of    Public   Health       incident    reports     and

information about the stipulated cases, the court finds

that the patient-care flaws arose more from management

problems than from problems with quality of the care that

doctors themselves provided.28           The problems often dealt


    28. The same is true of the problems the State cites
at the now-closed New Women All Women clinic.        Dr.
Anderson, one of the State’s experts, pointed to the
                                          (continued...)
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with the ability of the clinic to ensure that nurses are

providing effective telephone care and not overstepping

their   professional      boundaries.         According      to   state

regulations, the responsibility for these issues lies

jointly with the clinic administrator and the medical

director.     See Ala. Admin. Code §§ 420-5-1-.02(1)(a)

(Administrator);           (5)(c)        (Medical         Director).

Responsibility does not fall on the individual doctors

who provide the abortions.29


    28. (...continued)
Alabama Department of Public Health’s numerous citations
of that clinic and the clinic’s subsequent closure, as
evidence of substandard care and the need for heightened
regulation of abortion clinics generally. See Anderson
Report, DX 3 Ex. A, at 21. Obviously, the Department’s
findings are troubling.       But, from Dr. Anderson’s
description, it appears that the citations largely
related to recordkeeping and the conduct of non-physician
staff.   There is no indication in his report that the
doctors themselves were inadequate, only that their
qualifications were not documented.      Furthermore, the
court notes that the clinic was shut down for these
violations,    which   hardly    establishes   that   the
Department’s regulatory oversight was ineffective.
    29. At trial, the State argued that, because Dr. Roe
is the medical director of the Birmingham and Mobile
clinics, she does bear responsibility for the management
problems at those facilities. But this misses the point.
                                          (continued...)

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    Finally, the State introduced a malpractice complaint

against Dr. A and an indictment of Dr. H2.                       Dr. A

acknowledged the factual substance of the malpractice

complaint, but argues that his actions did not constitute

malpractice, but rather that he provided high-quality

care to the patient in that case, who suffered from an

exceptionally rare condition.           No court or state agency

has refuted his characterization that the actions did not

constitute malpractice.        Furthermore, doctors with staff

privileges, including the State’s own experts, also have

malpractice suits filed against them.               The indictment,




    29. (...continued)
The staff-privileges requirement would regulate Dr. Roe
not in her capacity as medical director, but rather in
her capacity as abortion provider.        It is only by
happenstance that the individual who provides abortions
in Birmingham is also the medical director there and in
Mobile.   Indeed, that is not the case at all at the
Montgomery clinic, and it would be senseless to require
additional credentialing of Dr. A, the abortion provider
there, because of management problems that may be
attributable to the medical director, an entirely
different person.   It makes no more sense to require
additional credentialing of all abortion providers simply
because one such provider happens also to serve as a
medical director.

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like the complaint, is nothing more than an allegation.

More importantly, however, Dr. H2 has staff privileges at

local hospitals in Auburn and in Huntsville.                  Therefore,

the indictment, even if it is ever substantiated, would,

if anything, constitute evidence against the State’s

theory     of      staff     privileges       as     providing      ongoing

oversight.

     Therefore, the court is left with the speculative

assertion       that       hospital     oversight,        through     staff

privileges, would actually ensure that the physicians and

clinics are providing high-quality care and would be an

effective       supplement     to     Department     of    Public    Health

oversight.          Of    course,     outside      the    context    of    an

undue-burden challenge, a regulatory decision grounded

only in such speculation would be an acceptable exercise

of the State’s police powers.               See Strange, --- F. Supp.

2d   at    ----,     2014     WL    1320158     at    *3-*4   (rejecting

plaintiffs’ rational-basis claim).                   However, whether,

under     Casey,    the     justification       is   strong    enough      to

warrant      the         burdens      and     obstacles       that        the

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staff-privileges requirement would create for Alabama

women seeking abortions is another question entirely.



                    3. Legislative Findings

    The   Alabama     legislature      made   several     legislative

findings which, although expressed in general and vague

terms, could be interpreted to conflict with the court’s

findings.      See 1975 Ala. Code § 26-23E-2 (legislative

findings).30      The   court    has    given    the   legislature’s


    30. The legislative findings are:
“(1) That the percentage of abortion or reproductive
health centers that have been subject to adverse
licensure action vastly exceeds the percentage of
facilities in any other category that have similarly been
subject to adverse licensure actions. This alarming level
of   regulatory   non-compliance   among   abortion   and
reproductive health centers in Alabama puts abortion
patients at unreasonable risk.

“(2) At abortion or reproductive health centers, patients
are often treated in a manner inconsistent with a
traditional physician/patient relationship.

“(3) Abortion or reproductive health centers are not
operated in the same manner as ambulatory surgical
treatment centers or physician offices.

“(4) Abortion involves not only a surgical procedure with
                                           (continued...)

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findings careful consideration.               However, while such

findings are reviewed under a “deferential standard,”

they are not entitled to “dispositive weight.”               Gonzales,

550 U.S. at 165.     On the contrary, this court “retains an


    30. (...continued)
the usual risks attending surgery, but also involves the
taking of human life.

“(5) Abortion is a highly personal and very sensitive
procedure which results in stress and concern for the
patient that is unique to the decision to have an
abortion.

“(6) Abortion is a very profitable procedure most often
engaged in by stand-alone clinics without many of the
safeguards found in a traditional physician/patient
relationship or other medical care setting.

“(7) Because abortion and reproductive health centers do
not currently provide the level of personal contact found
in many physician/patient relationships and in other
medical care settings, it is necessary for the
Legislature to mandate the personal presence and
participation of the physician in the process.

“(8) Moreover, because abortion or reproductive health
centers have often failed to meet acceptable standards of
medical care, it is necessary for Legislature to enact
reasonable and medically appropriate health and safety
standards for all abortion and reproductive health
centers, and to provide effective enforcement mechanisms
and disincentives for centers that are unable or
unwilling to meet these requirements.” 1975 Ala. Code
§ 26-23E-2.

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independent      constitutional        duty     to   review      factual

findings where constitutional rights are at stake.”                    Id.

(citing Crowell v. Benson, 285 U.S. 22, 60 (1932)).

      Based on the evidence presented, this court finds

that, to the extent that the legislature made factual

findings that early-term abortions are unsafe, that these

clinics’    continuity-of-care          practices         are    out    of

compliance with current regulations, those findings were

simply “incorrect,” Gonzales, 550 U.S. at 165.                         The

evidence in this case is clear that the procedures are

remarkably safe and that the plaintiffs’ clinics provide

complication care in compliance with current regulations.

On these matters, “deference to [the State’s] factual

findings ... is inappropriate.”           Id.

      With regard to the state’s other findings, the court

defers to the legislature’s conclusions, but finds that

they do not conflict with the analysis presented above.

The legislature identified a set of perceived problems.

For   example,    that    abortion      doctors      do    not   have     a

“traditional physician/patient relationship.”                   1975 Ala.

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Code § 26-23E-2(6).          As described above, the court agrees

with the State; the clinics’ model of continuity of care

does not comport with the traditional country-doctor

approach.        However, while the legislature identified

perceived problems with the nature of abortion care in

the     State,      it     did    not     make     findings    that     the

staff-privileges requirement would do much to solve those

problems.        Since most of the court’s findings concern

this      relationship           between         the     staff-privileges

requirement and the stated goals of the legislature, its

findings on the State’s justifications do not otherwise

conflict with the legislative findings at § 26-23E-2.



                         C. Substantial Obstacle

       Now,   the    court       must    apply    “the    heart”   of   the

substantial-obstacle test.               Planned Parenthood Southeast

v. Strange, --- F. Supp. 2d at ----, 2014 WL 1320158 at

*13.    Are the obstacles imposed by the staff-privileges

requirement more severe than warranted by the State’s

justifications for the regulation?                 The answer is, Yes.

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       The court finds that the obstacles imposed by the

staff-privileges requirement are large.                       The requirement

would    have       the    effect       of    closing   the     only    abortion

clinics       in    three     of    Alabama’s        five     largest    cities,

Montgomery,         Mobile,        and       Birmingham.       See     supra    at

§ IV.A.1.          For a number of reasons, including pressure

from    the    local       medical       community      and    the     threat   of

violence, no new clinics would emerge to replace the

plaintiffs’ clinics in the foreseeable future.                         See supra

at § IV.A.1.c.

       By eliminating abortion services in the three cities,

the     requirement         would        impose      three     main     sets    of

difficulties.             First, the need to travel farther to

obtain    an       abortion    would         cause   some     women     to   forgo

abortion      and    others        to    delay    their      abortions,      while

imposing       significant          financial        and     other     costs    on

remaining women.           See supra at § IV.A.2.a.             These effects

would be particularly strong for women who live closer to

the     current           abortion       clinics.             See     supra     at

§ IV.A.2.a.iii.            For all women who seek abortions in the

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State, the requirement would dramatically reduce the

capacity of abortion clinics within the State, delaying

and probably even preventing women’s abortions.                      See

supra at § IV.A.2.b.        Finally, these obstacles create a

significant risk that some women would pursue dangerous,

illegal abortions.       See supra at § IV.A.2.c.

    These harms are more than an “incidental effect of

making it more difficult or more expensive to procure an

abortion.”      Casey, 505 U.S. at 874; cf. Mazurek v.

Armstrong, 520 U.S. 968, 974 (1997) (regulation did not

have the effect of imposing a substantial obstacle, in

part because “no woman seeking an abortion would be

required by the new law to travel to a different facility

than was previously available.”).            Indeed, as this court

has noted, “evidence that an obstacle actually prevents

women from obtaining abortions,” which is “by no means

necessary,” is nonetheless “extremely compelling evidence

of a substantial obstacle.”          Strange, --- F. Supp. 2d at

----, 2014 WL 1320158 at *18 n.13.



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    The court further finds the State’s justifications

are exceedingly weak.          The State argues that the law

would serve two purposes: improving continuity of care

for clinic patients and imposing a credentialing scheme

that would provide screening and oversight to ensure

quality care.       With regard to the continuity-of-care

justification, the court finds that the country-doctor

approach to continuity of care which is reflected in the

staff-privileges requirement falls outside the range of

reasonable medical dispute in contemporary practice. See

supra at § IV.B.1.       Furthermore, as a matter of initial

screening, the staff-privileges requirement would add

nothing to the current credentialing requirements for

abortion doctors.        See supra at § IV.B.2.a.              The one

somewhat   viable     justification       was   the    argument    that

hospital     credentialing         committees         may    helpfully

supplement    Department      of   Public    Health     oversight     of

abortion doctors.      However, with any degree of scrutiny,

this justification proves to be weak and speculative.

See supra at § IV.B.2.b.

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      In light of the severity of the obstacles presented

by    the    requirement        and   the   weakness   of   the   State’s

justifications, the court is firmly convinced that the

obstacles       imposed          by    Alabama’s       staff-privileges

requirement are “more significant than is warranted by

the State's justifications for the regulation.” Strange,

--- F. Supp. 2d at ----, 2014 WL 1320158 at *13; see also

Van Hollen, 738 F.3d at 798 (substantial obstacle where

“the medical grounds ... are feeble, yet the burden

great”); Humble, 753 F.3d at 917 (substantial obstacle

where burdens outweighed “non-existent” medical grounds).

Thus, the staff-privileges requirement has the effect of

imposing a substantial obstacle for the women who seek

abortions from the plaintiffs’ clinics, and therefore

unduly burdens their constitutionally protected right to

an abortion.

      While the court finds that the State’s justifications

for    the    law   are    weak,      it    must   emphasize   that   its

conclusion      that      the    staff-privileges       requirement    is

unconstitutional does not turn solely on that finding.

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In the alternative, the court further finds that the

justifications are by no means sufficiently robust to

justify the obstacles that the requirement would impose

on women seeking abortion.            Because “the heart of this

test is the relationship between the severity of the

obstacle and the weight of justification the State must

offer to warrant that obstacle,” “the more severe an

obstacle    a   regulation     creates,     the    more    robust    the

government’s justification must be, both in terms of how

much benefit the regulation provides towards achieving

the State’s interests and in terms of how realistic it is

the justification will actually achieve that benefit.”

Strange, --- F. Supp. 2d at ----, 2014 WL 1320158 at *13.

Here, because the obstacles to women that would result if

the staff-privileges requirement were to go into effect

are    so   severe,    the    State    must     come     forward    with

justifications that are sufficiently “robust” to justify

such   obstacles.       The    court    finds     that    the   State’s

justifications are far, far from robust, especially in



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light   of   the    extensive     and    aggressive    Department     of

Public Health oversight which is already in place.



                            V.    CONCLUSION

    The constitutional rights recognized by the Supreme

Court are often viewed as more, or less, important in our

minds based on our subjective beliefs, which may be the

result of religion, personal philosophy, traditions, or

experiences.       This is simply an aspect of human nature,

but it is an aspect this court must resist.

    In deciding this case, the court was struck by a

parallel in some respects between the right of women to

decide to terminate a pregnancy and the right of the

individual to keep and bear firearms, including handguns,

in her home for the purposes of self-defense.                        See

McDonald     v.    City   of     Chicago,    561   U.S.   742    (2010)

(incorporating       this      right    in   the   liberty    interest

protected     by    the     Fourteenth       Amendment    due-process

clause); District of Columbia v. Heller, 554 U.S. 570

(2008) (first recognizing this right as protected by the

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Second Amendment).       At its core, each protected right is

held by the individual: the right to decide to have an

abortion and the right to have and use firearms for

self-defense.        However,     neither    right     can     be    fully

exercised without the assistance of someone else.                      The

right to abortion cannot be exercised without a medical

professional, and the right to keep and bear arms means

little if there is no one from whom to acquire the

handgun or ammunition.          In the context of both rights,

the Supreme Court recognizes that some regulation of the

protected    activity      is   appropriate,       but    that       other

regulation may tread too heavily on the right.                   Compare

Heller, 554 U.S. at 626 (“Like most rights, the right

secured by the Second Amendment is not unlimited.”) with

Casey, 505 U.S. at 876 (“Not all burdens on the right to

decide whether to terminate a pregnancy will be undue.”).

Finally, as to each right, there are many who believe, as

a matter of law, that the Supreme Court’s reasoning in

articulating     the    right    was    incorrect     and      who    also

believe,    as   a     matter   of     strong   moral     or     ethical

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convictions, that the activity deserves no constitutional

protection.

    With this parallelism in mind, the court poses the

hypothetical    that    suppose,     for   the    public    weal,    the

federal or state government were to implement a new

restriction on who may sell firearms and ammunition and

on the procedure they must employ in selling such goods

and that, further, only two vendors in the State of

Alabama were capable of complying with the restriction:

one in Huntsville and one in Tuscaloosa.               The defenders

of this law would be called upon to do a heck of a lot of

explaining--and rightly so in the face of an effect so

severe.   Similarly, in this case, so long as the Supreme

Court continues to recognize a constitutional right to

choose to terminate a pregnancy, any regulation that

would, in effect, restrict the exercise of that right to

only Huntsville and Tuscaloosa should be subject to the

same skepticism.       See Strange, --- F. Supp. 2d at ----,

2014 WL 1320158 at *13 (“the more severe an obstacle a



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regulation creates, the more robust the government’s

justification must be”).

       This court, as a trial court, should not be in the

business     of     picking    and     choosing      which     Supreme

Court-recognized right to enforce or in deciding whether

to enforce a right strongly or only somewhat, based on

this court’s independent assessment of the legal or moral

wisdom behind the acknowledgment of that right.                   While

this    trial   court   may    have    the   license,    if   not     the

obligation, to contribute its proverbial “two cents” to

the discussion of whether the law ought to be different,

that voicing should in no way detract from this court’s

obligation to assure 100 % enforcement of that law as it

is.    See Nelson v. Campbell, 286 F. Supp. 2d 1321 (M.D.

Ala.    2003)     (Thompson,   J.)    (after    discussing      why    it

believed Eleventh Circuit law was incorrect, trial court

still followed and applied that law), aff'd, Nelson v.

Campbell, 347 F.3d 910 (11th Cir. 2003), rev'd, Nelson v.

Campbell, 541 U.S. 637 (2004).



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     Rather, like all trial courts, this court must be

guided by one overarching principle: the rule of law.

Just as the Supreme Court gave to the courts in the

trenches their marching orders in Heller and McDonald, it

gave us our marching orders in Casey as well                As the one

Justice who signed onto both sets of marching orders has

stated: “The power of a court, the prestige of a court,

the primacy of a court stand or fall by one measure and

one measure alone: the respect accorded its judgments.”

Anthony M. Kennedy, Judicial Ethics and the Rule of Law,

40 St. Louis U. L.J. 1067 (1996).                With this opinion

today, this court, as it forges along as a soldier in the

trenches carrying out orders from on high, puts its faith

in   this   statement    and   hopes    that,    in   resolving      the

constitutional question before it, it has been faithful

to the lofty command of the rule of law.



                                 ***

     For all the reasons stated above, the court believes

that it should enter an immediate and initial judgment

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declaring    that    the    staff-privileges         requirement      of

Alabama’s Women’s Health and Safety Act of 2013, 1975

Ala. Code § 26-23E-4(c), is unconstitutional as applied

to the plaintiffs in this case.

    However, the court further believes that, aside from

the entry of this initial declaratory judgment, it should

solicit more input from the parties before fashioning and

tailoring final relief. See Powell v. McCormack, 395 U.S.

486, 499 (1969) (citations omitted) (“A court may grant

declaratory relief even though it chooses not to issue an

injunction or mandamus.        A declaratory judgment can then

be used as a predicate to further relief, including an

injunction.”).      In particular, the court would like input

as to whether ‘facial’ relief is warranted or necessary

in light of the findings of this court and the discussion

of such relief in the recent decision of the Fifth

Circuit in Jackson Women’s Health Organization; whether

any part of the statute at issue may constitutionally be

severed and take effect; and whether an injunction is

necessary and, if so, what the scope and nature of that

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injunction    should    be.      In   addition,     the   court    will

shortly issue a supplemental opinion on the pending Fed.

R. Evid. 702 and 801 issues.              Since some substantive

issues have yet to be resolved, the temporary restraining

order will remain in effect until the resolution of these

issues.

    An appropriate judgment will be entered.

    DONE, this the 4th day of August, 2014.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
